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                                 No. 23-2366

                             IN THE
                 UNITED STATES COURT OF APPEALS
                    FOR THE SEVENTH CIRCUIT


                                 K.C., ET AL.,
                                                 Plaintiffs-Appellees,
                                      v.

           INDIVIDUAL MEMBERS OF THE MEDICAL LICENS-
                   ING BOARD OF INDIANA, ET AL.,
                                                 Defendants-Appellants.


           On Appeal from the United States District Court for the
          Southern District of Indiana, No. 1:23-cv-00595-JPH-KMB,
                   The Honorable James P. Hanlon, Judge


          OPENING BRIEF FOR DEFENDANTS-APPELLANTS




Office of the Attorney General             THEODORE E. ROKITA
IGC South, Fifth Floor                     Attorney General of Indiana
302 W. Washington Street
Indianapolis, IN 46204                     THOMAS M. FISHER
(317) 232-6255                             Solicitor General
Tom.Fisher@atg.in.gov
                                           JAMES A. BARTA
                                           Deputy Solicitor General

                                           MELINDA R. HOLMES
                                           Deputy Attorney General

                      Counsel for Defendants-Appellants
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                                 INTRODUCTION

      Across the developed world, the number of minors claiming to experience gen-

der dysphoria has climbed exponentially over the past decade—including by 4,000%

in the United Kingdom and 1,500% in Sweden. By one count, U.S. cases tripled be-

tween 2017 and 2021 alone. Rates are especially high among teenage girls.

      Some physicians have responded by prescribing puberty blockers to interrupt

normal puberty and massive doses of hormones to change permanently the physical

appearance of still-developing minors. As new systematic reviews of scientific litera-

ture reveal, however, those interventions lack reliable support. The “evidence” for

them consists of small, biased studies unable to distinguish between the impact of

medical interventions and non-invasive psychological support. In fact, as the reviews

reflect, the only thing known for sure about puberty blockers and hormones is that

they carry significant risks. Blockers stunt growth, weaken bones, and affect brain

development; hormones increase cancer and stroke risk and cause sterility.

      Given the known harms and unproven benefits of these medical interventions

for gender dysphoria in minors, Indiana may constitutionally prohibit them. The

“normal rule” is that States have broad discretion over how to regulate new medical

procedures, particularly “‘in areas fraught with medical and scientific uncertainties.’”

Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2268 (2022) (quoting Mar-

shall v. United States, 414 U.S. 417, 427 (1974)). As the Sixth Circuit recently ob-

served in permitting another state law protecting minors against gender-transition

procedures to take effect, States may “rationally take the side of caution before




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permitting irreversible medical treatments of [their] children.” L.W. ex rel. Williams

v. Skrmetti, 73 F.4th 408, 419 (6th Cir. 2023). States are under no constitutional im-

perative to authorize experimental treatments for gender dysphoria.

      Notwithstanding States’ traditional power over health and safety measures,

the district court held that the Equal Protection Clause gives minors with gender

dysphoria a right to puberty blockers and hormones. The court thought that Indiana’s

prohibition on using puberty blockers and hormones for child gender transitions,

known as Senate Enrolled Act (S.E.A.) 480, should be subject to heightened scrutiny

for classifying based on sex. As the court itself conceded, however, “S.E.A. 480 pro-

hibits both male and female minors from using puberty blockers and cross-sex hor-

mone[s].” SA20. It cannot be that a statute discriminates based on sex when it applies

equally to both sexes. Embracing the district court’s expansive view of sex discrimi-

nation would require discarding decades of Supreme Court precedent.

      S.E.A. 480 withstands heightened scrutiny regardless. By the district court’s

own account, “more research is needed to explore the[] risks” of gender-transition

procedures, and “important reasons” underlie S.E.A. 480’s ban on them. SA1, SA23.

The court thus did not dispute that S.E.A. 480 advances important state interests in

protecting children from risky, experimental procedures. Instead, the court quibbled

with Indiana’s decision to ban gender-transition procedures rather than follow the

path of countries that have limited their use to “‘formal research.’” SA26. But Indiana

need not let its children become research subjects merely because others have made




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a different policy choice. The Constitution entrusts democratically accountable rep-

resentatives with balancing the risks and benefits of unproven medical interventions.

                        JURISDICTIONAL STATEMENT

      This appeal arises from a putative class action in which plaintiffs alleged that

Indiana’s S.E.A. 480, Ind. Code § 25-1-22-1 et seq.—which regulates the provision of

gender-transition procedures to minors—violates the Fourteenth Amendment’s

Equal Protection and Due Process Clauses; the First Amendment; Section 1557 of the

Affordable Care Act, 42 U.S.C. § 18116; and Medicaid requirements, 42 U.S.C.

§ 1396d(a)(10)(A) and (a)(10)(B)(i). Dkt. 1. The district court had jurisdiction under

28 U.S.C. § 1331. On June 16, 2023, the district court issued an order granting in part

plaintiffs’ motion for a preliminary injunction, Dkt. 67, and a separate preliminary

injunction, Dkt. 68. On July 11, 2023, defendants timely appealed. Dkt. 77. This

Court has jurisdiction over the appeal under 28 U.S.C. § 1292(a)(1).

                         STATEMENT OF THE ISSUES

      1.     Whether, consistent with the Equal Protection Clause, Indiana may pro-

hibit physicians from providing minors with GnRH analogues (puberty blockers) and

hormones for purposes of gender transitions.

      2.     Whether, consistent with the First Amendment, Indiana may prohibit

medical providers from aiding or abetting gender-transition procedures.

      3.     Whether the equities and public interest preclude a preliminary injunc-

tion against a democratically adopted measure that protects minors from unproven,

dangerous, and potentially irreversible medical interventions.




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      4.     Whether the district court erred in enjoining application of S.E.A. 480

to anyone in all circumstances without first certifying a class or finding there is no

set of circumstances in which S.E.A. 480 can be constitutionally applied.

                            STATEMENT OF THE CASE

I.    Sex, Gender Identity, and Gender Discordance

      All humans have a sex—male or female. See Dkt. 48-4 at 5 (Weiss Decl. ¶ 18);

Dkt. 48-2 at 10 (Hruz Decl. ¶ 16). “Sex is an objective biological trait . . . permanently

determined . . . at conception” and genetically encoded into every human cell. Dkt.

48-2 at 9 (Hruz Decl. ¶ 14); see Dkt. 48-4 at 5–6 (Weiss Decl. ¶¶ 18–20); Dkt. 48-1 at

52–54 (Cantor Decl. ¶¶ 104–06). “Males have XY chromosomes in their cells”; “fe-

males have XX chromosomes.” Dkt. 48-4 at 5 (Weiss Decl. ¶ 19); see Dkt. 48-2 at 9,

32, 41 (Hruz Decl. ¶¶ 14, 57, 71). That encoding affects humans through “over 6,500”

sex-differentially expressed genes. Dkt. 48-2 at 27, 41 (Hruz Decl. ¶¶ 48, 71).

      One of sex’s most significant impacts is on human reproductive roles. Dkt. 48-

2 at 9, 41 (Hruz Decl. ¶¶ 14, 71). Human males produce sperm in testes and deliver

it to females; human females receive the sperm and join it with maternal genetic

information contained in an ovum produced by ovaries. Id. (¶ 14); see Dkt. 48-4 at 5

(Weiss Decl. ¶ 20). “[N]o procedure can enable an individual to perform the reproduc-

tive role of the opposite sex.” Dkt. 48-4 at 5 (Weiss Decl. (¶ 21); see Dkt. 48-2 at 32–

33 (Hruz Decl. ¶ 57). Although rare disorders can affect external genitalia’s appear-

ance, sex can be correctly identified from genitalia in “nearly 99.98% of cases.” Dkt.

48-2 at 9–12 (Hruz Decl. ¶¶ 15–19).




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      Gender and gender identity are distinct from sex. Traditionally, “gender” re-

ferred to a grammatical concept, but nowadays often refers to “psychological and cul-

tural characteristics.” Dkt. 48-2 at 12–13 (Hruz Decl. ¶ 20). As even plaintiffs’ Dr.

Turban admits, whereas sex refers to an objective, biological concept, gender identity

refers to a subjective, psychological sense. Dkt. 48-11 at 7 (Turban Dep. 19: 3–12); see

Dkt. 48-1 at 52 (Cantor Decl. ¶ 104); Dkt. 48-2 at 9, 11–12 (Hruz Decl. ¶¶ 14, 20).

Plaintiffs’ experts describe gender identity as an “internal sense of belonging,” Dkt.

26-2 at 6 (Shumer Decl. ¶ 27), which can be male, female, a blend, or something else,

Dkt. 26-1 at 7 (Karasic Decl. ¶ 28). A person whose sex and gender identity do not

align may be called “transgender.” Dkt. 26-2 at 6 (Shumer Decl. ¶ 27).

      As plaintiffs’ witnesses concede, no test for gender identity exists. Dkt. 48-10

at 9, 11 (Shumer Dep. 27:1–5, 33:14–15); Dkt. 48-11 at 8 (Turban Dep. 24:1–6); Dkt.

48-8 at 15 (Mosaic Dep. 51:5–6); Dkt. 48-1 at 52 (Cantor Decl. ¶ 104). To know a per-

son’s gender identity, plaintiffs’ witnesses explain, they must ask the person to “tell

[them].” Dkt. 48-8 at 15 (Mosaic Dep. 51:3–4); see Dkt. 48-10 at 9 (Shumer Dep. 28:13–

16); Dkt. 48-9 at 8 (Karasic Dep. 24:15–21); Dkt. 48-11 at 7–8 (Turban Dep. 19:13–

21, 21:6–22:20). According to plaintiffs’ witnesses, “gender identity may evolve over

time.” Dkt. 26-2 at 6–7 (Shumer Decl. ¶ 28); see Dkt. 48-8 at 13–14 (Mosaic Dep.

44:13–15, 46:14–25) (agreeing that “gender identity change[s] over time”).




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II.   Gender Dysphoria

      A.     Diagnosis of gender dysphoria

      Gender dysphoria is a psychiatric (not medical) diagnosis defined by the Amer-

ican Psychiatric Association’s DSM-5. See Dkt. 48-1 at 55 (Cantor Decl. ¶ 108). The

prior manual, DSM-4, called the diagnosis “gender identity disorder.” Id. at 119–20

(¶ 266). A diagnosis of gender dysphoria requires (among other things) “clinically sig-

nificant distress” with one’s sex. Id. at 55 (¶ 108); see Dkt. 48-3 at 99–100 (Kenny

Decl. ¶¶ 188–89). Not all transgender youth experience dysphoria. Dkt. 48-10 at 13

(Shumer Dep. 42:5–8); Dkt. 48-11 at 10 (Turban Dep. 31:4–10).

      Gender dysphoria in children (prepubertal minors) is marked by a “strong de-

sire” or “insistence” that “one is the other gender” and at least five other criteria, all

lasting at least six months, such as “a strong preference for wearing only typical”

clothing of the other gender, “for the toys, games or activities stereotypically used or

engaged in by the other gender,” and “for playmates of the other gender.” Dkt. 49-4

at 7–8 (DSM-5 TR 3–4). Gender dysphoria in adolescents (minors who have reached

puberty) is marked by two criteria lasting at least six months, such as a “strong desire

to be rid of one’s primary and/or secondary sex characteristics” or “a strong conviction

that one has the typical feelings and reactions of the other gender.” Id.

      As plaintiffs’ experts concede, no other test exists to verify a diagnosis or to

calculate an error rate. See Dkt. 48-11 at 10 (Turban Dep. 31:11–19); Dkt. 48-10 at

13 (Shumer Dep. 41:15–16). A diagnosis depends on self-reported feelings. Other con-

ditions and experiences, such as post-traumatic stress disorder, schizophrenia,




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autism, borderline personality disorder, and incipient homosexuality, can cloud the

diagnostic process. Dkt. 48-5 at 62–69 (Kaliebe Decl. ¶¶ 171–89); Dkt. 48-3 at 121–

26 (Kenny Decl. ¶¶ 237–46); Dkt. 48-11 at 15 (Turban Dep. 49:1–5).

      B.     The recent spike in gender dysphoria

      Historically, gender dysphoria in minors was “rare.” Dkt. 48-5 at 10, 12–13

(Kaliebe Decl. ¶¶ 19, 28). Most cases were reported in prepubertal children born male,

with ratios of boys to girls being as high as 33 to 1. Dkt. 48-3 at 43–45 (Kenny Decl.

¶¶ 87, 89); see Dkt. 48-1 at 57 (Cantor Decl. ¶ 112).

      In recent years, however, numbers have skyrocketed. “The UK has reported a

4,000 percent increase . . . over the past 10 years,” resulting in a 50-fold increase in

referrals to its leading gender clinic, and “Sweden . . . a 1,500 percent increase.” Dkt.

48-3 at 35 (Kenny Decl. ¶ 71); see Dkt. 48-5 at 12 (Kaliebe Decl. ¶ 28).




Dkt. 48-5 at 11–12 (Kaliebe Decl. ¶¶ 28–30). “Similar increases have been reported

across much of the economically advanced countries in the world, many showing an


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over 1000% rise in gender dysphoria over the last decade.” Dkt. 48-5 at 12 (Kaliebe

Decl. ¶ 29); see Dkt. 48-3 at 43–51 (Kenny Decl. ¶¶ 87–101). “Never before have there

been large cohorts of individuals seeking . . . to alter their secondary sex characteris-

tics.” Dkt. 48-5 at 12 (Kaliebe Decl. ¶ 30).

      With skyrocketing numbers has come an equally dramatic shift in presenta-

tion. Whereas formerly most minors with gender dysphoria were young boys, most

minors today are adolescent girls with no history of cross-gender behavior. Dkt. 48-1

at 66–67 (Cantor Decl. ¶ 135); Dkt. 48-5 at 11–12 (Kaliebe Decl. ¶¶ 28–30); Dkt. 48-

3 at 43–45 (Kenny Decl. ¶¶ 87–89).

      The upsurge in gender dysphoria among teen girls is largely unstudied, Dkt.

48-1 at 66–67 (Cantor Decl. ¶ 135)—as a U.K. review observed, “[a]t present we have

the least information for the largest group of patients,” Dkt. 49-7 at 59 (Cass Report

58). But “[c]ases commonly appear to occur within clusters of peers in association

with increased social media use, and among people with autism or other mental

health issues.” Dkt. 48-1 at 66–67 (Cantor Decl. ¶ 135). Approximately “70% of chil-

dren with gender dysphoria have had recent trauma, history of abuse, autism spec-

trum disorder, homosexual orientation, depression, anxiety, or bullying.” Dkt. 48-4 at

14 (Weiss Decl. ¶ 58).

      Social and online contagion could be “major contributors” to the “remarkable

rise in gender dysphoria in adolescents.” Dkt. 48-5 at 13 (Kaliebe Decl. ¶ 33). A 2018

paper showed 86.7% of parents reporting “that, along with the sudden or rapid onset

of gender dysphoria, their child either had an increase in their social media/internet




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use, belonged to a friend group in which one or multiple friends” identified as

transgender “during a similar time-frame, or both.” Id. at 16 (¶ 42) (citation omitted).

A 2023 paper showed similar results. Dkt. 48-1 at 66–67 (Cantor Decl. ¶ 135).

      Those findings are consistent with broader research showing that peers exert

“powerful” influence on minors, especially adolescent girls. Dkt. 48-3 at 17–18, 39

(Kenny Decl. ¶¶ 32–33, 78). Minors who do not fit within peers’ perception of a binary

gender role are frequently ostracized and, to gain acceptance, may “declar[e] them-

selves transgender,” an identity “valorized by a politically powerful transactivist

lobby.” Id. at 37–38 (¶ 76); see id. at 41–42 (¶ 84).

      The findings are also consistent with research showing the internet and social

media powerfully affect minors, as illustrated by their role in spreading suicide con-

tagion, self-harm contagion, anorexia, tic disorders, and psychosomatic illnesses. Dkt.

48-5 at 15 (Kaliebe ¶¶ 39–41); see Dkt. 48-3 at 40–41 (Kenny Decl. ¶¶ 82–83). When

polled, 82% of respondents at a national conference of psychiatrists reported that so-

cial media “somewhat often” or “very often” influences teens regarding “their sexual

and/or gender identity.” Dkt. 48-5 at 21 (Kaliebe Decl. ¶ 53).

      C.     Persistence of gender dysphoria into adulthood

      Although long-term data on the recent rise of adolescent teen girls identifying

as transgender is lacking, existing research indicates that gender dysphoria can re-

solve on its own, i.e., without social or medical intervention. All studies of children

found that a “majority cease to want to be the other gender over the course of pu-

berty—ranging from 61–88% desistance.” Dkt. 48-1 at 59 (Cantor Decl. ¶ 115).




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Currently, however, there is no “reliable procedure for discerning which children who

present with gender dysphoria will persist.” Id. at 61–62 (¶ 122) (citation omitted).

III.   Interventions for Gender Dysphoria

       There is ongoing debate over whether gender dysphoria in minors should be

treated using psychosocial interventions, medical interventions, or both.

       A.    Psychosocial interventions

       Psychosocial interventions for gender dysphoria include “psychosocial sup-

port[] and psychotherapy.” Dkt. 48-5 at 57–58 (Kaliebe Decl. ¶ 150); see Dkt. 48-8 at

22, 25 (Mosaic Dep. 77:1–8, 90:7–14) (admitting to using social support as a “treat-

ment”). “Quality psychotherapy includes the process of exploring patient life history,

emotions, coping style, and thought patterns. This includes validating how patients

feel, but it also includes teaching patients to not be guided solely by their feelings.”

Dkt. 48-5 at 58 (Kaliebe Decl. ¶ 151). “Psychiatrists,” for example, “do not ‘affirm’

hopelessness in depression, delusions in schizophrenia, or distorted body image in

anorexia or body dysmorphic disorder.” Id. (¶ 152).

       “Time-tested and widely effective psychotherapy approaches include support-

ive therapy or cognitive behavioral therapy.” Dkt. 48-5 at 61–62 (Kaliebe Decl. ¶ 167).

“Cognitive behavioral therapy has proven effective for virtually every mental health

condition it has been researched for, including the full range of anxiety disorders,

depressive and mood disorders, disturbed anger, sleep disturbance and trauma reac-

tions”—conditions present at “high levels” in patients with gender dysphoria. Id.

(¶ 167). Psychotherapy’s goal is “to help individuals gain a deeper understanding of




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themselves, develop coping skills, and provide a neutral, unbiased process.” Id.

(¶ 168). Both sides’ experts agree “psychotherapy” is “very valuable for a lot of people”

with gender dysphoria. Dkt. 48-9 at 22 (Karasic Dep. 76:18–24); see Dkt. 48-11 at 59–

60 (Turban Dep. 228:16–229:1) (admitting psychotherapy “helped” patients).

      B.     Medical interventions

      Medical interventions for gender dysphoria are riskier and more invasive.

They include GnRH analogues (puberty blockers), cross-sex hormones, and gender-

transition surgeries. This appeal focuses on GnRH analogues and hormones.

      1.     GnRH analogues are drugs that the FDA approved to treat central pre-

cocious puberty, a rare disorder in which children undergo puberty too early. Dkt. 48-

2 at 20–22, 24 (Hruz Decl. ¶¶ 36–37, 39, 43); see Dkt. 48-4 at 19 (Weiss Decl. ¶ 86).

When used for treating that disorder, the goal is to allow a child to enter puberty at

a normal age, lest early puberty stunt their ultimate bone growth. Dkt. 48-2 at 21, 25

(Hruz Decl. ¶¶ 37, 45). Puberty, however, is not further delayed due to the risk of

“adverse effects, including reduced bone marrow density.” Id. (¶ 45); see Dkt. 48-4 at

20 (Weiss Decl. ¶ 92).

      GnRH analogues are not FDA approved for treating gender dysphoria. Dkt. 48-

4 at 19 (Weiss Decl. ¶ 86); see Dkt. 48-2 at 33 (Hruz Decl. ¶ 58). When GnRH ana-

logues are used to treat gender dysphoria in minors, the objective is to delay natural

puberty and to prevent the development of secondary sex characteristics (e.g., facial

hair in natal males and breasts in natal females). Dkt. 48-2 at 14–15, 33–34 (Hruz

Decl. ¶¶ 25, 59); see Dkt. 26-2 at 13–15 (Shumer Decl. ¶¶ 54, 57–58) (similar). Various




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medical and psychiatric conditions can render patients with gender dysphoria ineli-

gible for GnRH analogues. Dkt. 48-11 at 18 (Turban Dep. 62:14–63:6).

      2.     Cross-sex hormones are another medical intervention. Males and fe-

males naturally have different primary sex hormones: The principal sex hormone for

males is testosterone while the principal female sex hormone is estrogen. Dkt. 48-2

at 27–30, 42 (Hruz Decl. ¶¶ 49, 53, 73); Dkt. 48-4 at 23 (Weiss Decl. ¶¶ 107–08).

“There are major and highly significant differences between male and female re-

sponses to sex hormones.” Dkt. 48-2 at 27 (Hruz Decl. ¶ 48). For example, testosterone

can be used to restore health in males by raising low testosterone due to damaged

testes or by treating delayed male puberty with “low doses of testosterone for 3–4

months.” Id. at 27–28 (¶¶ 49–50). By contrast, testosterone is “not an indicated treat-

ment” for disorders affecting “a female child or adolescent.” Id. at 29 (¶ 52). Giving

testosterone to a female would yield “serious adverse effects,” including “impaired

fertility, alopecia (hair loss), disfiguring acne, and metabolic changes that increase

risk of heart disease and diabetes.” Id. (¶ 52). Instead, females are given estrogen to

“to treat the same conditions testosterone treats in males.” Id. at 28–29 (¶ 53).

      Cross-sex hormone treatment for gender dysphoria involves giving females

doses of testosterone 20–40 times higher than their normal levels to induce typical

male characteristics, such as lower voice and facial hair, and giving males doses es-

trogen about 5 times higher than their normal levels to induce typical female charac-

teristics, such as breasts, female fat distribution, and softer skin. Dkt. 48-2 at 39–40

(Hruz Decl. ¶ 68); Dkt. 48-4 at 23 (Weiss Decl. ¶¶ 107–08). Gender dysphoria patients




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may take hormones for “the rest of their lives.” Dkt. 48-8 at 20 (Mosaic Dep. 69:22–

23). This use of hormones is not FDA approved. Certain conditions, including suicid-

ality, can render patients better suited for psychotherapy than hormones. Dkt. 48-9

at 22 (Karasic Dep. 77:25–79:16); Dkt. 48-11 at 12 (Turban Dep. 37:24–39:9).

      3.     Surgeries are the most invasive intervention. Surgeries considered for

natal females include “masculinizing chest surgery” (or “top surgery”) and “phallo-

plasty” (or “bottom surgery”). Dkt. 48-11 at 47 (Turban Dep. 180:10–16). Chest sur-

gery means removing both breasts and recontouring the chest. See Dkt. 48-11 at 48

(Turban Dep. 182:4–18). A phalloplasty involves “taking a piece of tissue from some-

where else in the body and fashioning a phallus from that,” attaching it, and reposi-

tioning and extending the urethra. Dkt. 48-11 at 48 (Turban Dep. 181:21–182:3).

      Surgeries for natal males include vaginoplasties. Dkt. 48-11 at 47 (Turban

Dep. 180:10–16). That surgery involves “removal of the testes” and penis, creating a

“space between the rectum and the bladder,” creating a vaginal-like structure with

skin from the penis, and “reposition[ing] the urethra where the urine flows.” Dkt. 48-

9 at 26 (Karasic Dep. 96:7–23); Dkt. 48-11 at 48 (Turban Dep. 181:9–16). Genital

surgeries are “fairly big invasive surgeries that carry substantial medical involve-

ment and are difficult to reverse.” Dkt. 48-11 at 47 (Turban Dep. 180:19–21).

IV.   The Push for Medical Interventions

      A.     The “Dutch protocol”

      The history of medical interventions for gender dysphoria is a short one, begin-

ning at a clinic in the Netherlands during the 1990s. Dkt. 48-1 at 110 (Cantor Decl.




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¶¶ 238–39); Dkt. 48-2 at 33 (Hruz Decl. ¶ 58). The protocol that clinic developed,

known as the “Dutch protocol,” is more conservative than what many practitioners

use today but still quickly proceeds to medical interventions. Dkt. 48-1 at 83, 110

(Cantor Decl. ¶¶ 170, 238–39).

      Under the Dutch protocol, “no social transition”—i.e., “social affirmation” of a

child in the opposite gender—is permitted before age 12. Dkt. 48-1 at 110–11 (Cantor

Decl. ¶¶ 240, 244). Rather, “watchful waiting” is prescribed. Id. “Watchful waiting

does not mean do nothing.” Id. (¶ 244). It instead involves “actively treating” other

“issues which may be exacerbating psychological stress or dysphoria” through ther-

apy and mental-health interventions. Id. The Dutch insistence on watchful waiting

reflects “the long-established and repeated observation” that gender dysphoria will

resolve in most children without intervention and that social transition “contribute[s]

to the likelihood of persistence.” Id. at 61, 110 (¶¶ 121, 239) (citation omitted).

      After age 12, the Dutch protocol permits social transition and treatment with

GnRH analogues, but only after mental-health issues are resolved and only with on-

going mental-health support. Dkt. 48-1 at 110–11 (Cantor Decl. ¶¶ 240, 243). It “em-

phasize[s] the need for extensive mental health assessment, including clinical inter-

views, formal psychological testing with validated psychometric instruments, and

multiple sessions with the child and the child’s parents.” Id. at 111 (¶ 243). After age

16, the Dutch protocol permits cross-sex hormones, but again only if mental-health

issues have been resolved and only with ongoing mental-health support. Id. at 110–

11 (¶¶ 240, 243).




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      In selecting age thresholds, the Dutch did not identify “any research” showing

them to be more appropriate than alternatives. Dkt. 48-1 at 111 (Cantor Decl. ¶ 242);

see id. at 111–12 (¶ 245). The clinic selected them because they corresponded to the

age of informed consent under Dutch law. Id. at 111 (¶ 242).

      B.     WPATH & Endocrine Society

      More recently, many practitioners have departed from the Dutch protocol to

take an even riskier approach—which plaintiffs here prefer. Plaintiffs point to guide-

lines developed by the World Professional Association for Transgender Health

(WPATH) and the Endocrine Society as describing this approach. See Dkt. 27 at 16.

Some practitioners and clinics take even more lax approaches, however. Dkt. 49-17

at 6–7, 10–11 (Reed Decl. ¶¶ 10–11, 21).

      WPATH released version 8 of its guidelines in 2022 (SOC-8). Dkt. 48-5 at 42

(Kaliebe Decl. ¶ 113). Under SOC-8, social transition is permitted at any age. Dkt.

48-1 at 52, 112–13 (Cantor Decl. ¶¶ 101, 248). Plaintiffs’ expert considers three-year-

olds able to declare themselves transgender and to begin social transition. Dkt. 48-11

at 12 (Turban Dep. 40:17–21). And while the SOC-8 initially had age recommenda-

tions for medical interventions, WPATH abruptly dropped those recommendations

soon after initial publication without citing any research. Dkt. 48-1 at 52, 112–13

(Cantor Decl. ¶¶ 101, 248). The current guidelines permit treatment with GnRH an-

alogues and cross-sex hormones whenever puberty first manifests (Tanner Stage 2).

Dkt. 49-3 at 115–16, 117–18 (WPATH SOC-8 at S12.1, S12.5). Under SOC-8, there is

no requirement for psychotherapy before transitioning. Id. at 178 (S18.9).




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      In creating SOC-8, WPATH did not conduct a “systematic review” of the evi-

dence “for children.” Dkt. 48-9 at 23 (Karasic Dep. 81:4–6). It commissioned a general

review on efficacy of GnRH analogues and cross-sex hormones but not their safety.

Dkt. 48-1 at 48–49 (Cantor Decl. ¶¶ 92–93). The review did not separately evaluate

adolescents. Id. at 50 (¶ 97). It considered only three studies on adolescents, excluding

three others due to “high risks of bias,” and then lumped the selected studies together

with adult studies. Id. at 49–50 (¶¶ 94, 97). Even so, the review found only “low”

quality evidence that hormones improved quality of life, depression, and anxiety, and

“insufficient” evidence that hormone therapy reduced suicide. Id. at 50 (¶ 97). No

studies “follow[ed] youth into adulthood.” Id. at 51–52 (¶ 100). Despite research gaps,

SOC-8 recommended medical interventions using “consensus-based expert opinion.”

Id. at 50–51, 85–86 (¶¶ 98, 175) (citation omitted); see Dkt. 48-5 at 43–45 (Kaliebe

Decl. ¶¶ 115–21) (observing SOC-8 used a process like the prior version, which

“scored poorly on editorial independence, applicability, and rigor of development”).

      Like WPATH, the Endocrine Society recommends “temporary suppression of

pubertal development of children with GnRH agonists followed by hormonal treat-

ments.” Dkt. 48-2 at 48–49 (Hruz Decl. ¶¶ 82–83). Those recommendations were cre-

ated by a committee of ten members—nine of whom are “also WPATH leaders or au-

thors”—and were never submitted to the full membership for approval or for external

review. Dkt. 48-5 at 47–48 (Kaliebe Decl. ¶ 128); see Dkt. 48-2 at 50–51 (Hruz Decl.

¶ 86). According to the guidelines themselves, evidence quality for the recommenda-

tions is “low” or “very low” under the GRADE system, the leading method for




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evaluating medical-evidence quality. Dkt. 48-2 at 48–49 (Hruz Decl. ¶ 83). Under

GRADE, “low recommendations indicate that ‘[f]urther research is very likely to have

an important impact on our confidence in the estimate of effect and is likely to change

the estimate.’ Very low recommendations mean that ‘any estimate of effect is very

uncertain.’” Id. at 48 (¶ 82). The guidelines nevertheless made “strong recommenda-

tions” based on “weak evidence”—a “discouraged” practice. Id. at 49 (¶ 84).

       In creating the guidelines, the Endocrine Society commissioned a review on

how sex-steroid use affects “lipids and cardiovascular outcomes” and “bone health.”

Dkt. 48-1 at 47–48 (Cantor Decl. ¶ 88) (citation omitted). It did not “look at the effect

of the interventions on gender dysphoria itself, arguably ‘the most important out-

come.’” Dkt. 48-2 at 49 (Hruz Decl. ¶ 84) (citation omitted). Despite the narrow scope,

the reviews did not identify “any study of adolescents” on lipids and cardiovascular

outcomes, and identified “only one small,” short-term study on bone health. Dkt. 48-

1 at 47–48 (Cantor Decl. ¶ 88). “[T]he Endocrine Society does not claim to have con-

ducted or consulted any systematic review of the efficacy of puberty blockers or cross-

sex hormones to reduce gender dysphoria or increase mental health or well-being.”

Id. at 48 (¶ 89). “Nor does it claim to have conducted or consulted any systematic

review of safety” with respect to “brain development, future fertility, [or] actual re-

versibility.” Id.

       Many medical advocacy organizations have nonetheless issued supporting

statements. Dkt. 48-3 at 76 (Kenny Decl. ¶ 144). Some statements, such as the Amer-

ican Academy of Pediatrics’, are the work of “a single author” who never did a




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systematic review. Dkt. 48-1 at 52 (Cantor Decl. ¶ 103). Others were developed by

committees staffed with advocates of medical interventions for transgender youth.

Dkt. 48-5 at 32–33 (Kaliebe Decl. ¶¶ 85–87). The organizations’ leadership have sup-

pressed efforts to discuss evidence quality and alternative treatments. Id. at 33–58

(¶¶ 89–150); Dkt. 48-3 at 74–75, 81–85 (Kenny Decl. ¶¶ 142–43, 155–60). WPATH’s

U.S. affiliate even censured WPATH’s first transgender president, Dkt. 48-5 at 47

(Kaliebe Decl. ¶ 125), who criticized physicians for “rush[ing]” youth into transitions

without adequate research to support “quick medical treatment,” Laura Edwards-

Leeper & Erica Anderson, The Mental Health Establishment Is Failing Trans Kids,

Wash. Post (Nov. 24, 2021), https://www.washingtonpost.com/outlook/2021/11/24/

trans-kids-therapy-psychologist/.

V.    The Increasing Evidence of Regret

      Heartbreaking stories of how hormones and surgeries have destroyed lives ac-

company aggressive medical interventions. Corinna Cohn tells how hormones and

surgeries pursued at a young age left him depressed, alienated, and “sexually dys-

functional.” Dkt. 49-13 at 2, 5 (Cohn Decl. ¶¶ 2, 13). He now faces a lifetime of regret.

Id. at 6–7 (¶¶ 21–22). Xandra Robertson, a detransitioned woman, attempted suicide

because “[t]he pursuit of transition had pushed away [her] family, destroyed [her]

marriage, and made meaningful relationships nearly impossible.” Dkt. 49-14 at 6–7

(Robertson Decl. ¶¶ 14–15). As Robertson learned, she could never “truly transition

and become the other gender” but was a medical patient for life. Id. at 5 (¶ 12).




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      Chloe Cole began testosterone at age 13 and received a double mastectomy at

age 15, and now at age 18 “griev[es for her] breasts and [her] girlhood that was cut

short.” Dkt. 49-12 at 2, 4 (Cole Decl. ¶¶ 2, 13). Zoe Hawes started testosterone at 16

and desperately wanted a hysterectomy and mastectomy—only insufficient finances

preserved her ability to become a mother able to breastfeed her son. Dkt. 49-16 at 4–

5 (Hawes Decl. ¶¶ 15–16). Yaacov Sheinfeld’s daughter experienced so much depres-

sion and pain from ten years of cross-sex hormones that she took fentanyl, fatally

overdosing. Dkt. 49-15 at 3 (Sheinfeld Decl. ¶¶ 11–13).

      These tragic stories do not stand alone. Evidence of detransition and regret

among those who undergo gender-transition procedures as minors is “increasing.”

Dkt. 48-4 at 27 (Weiss Decl. ¶ 137); see Dkt. 48-1 at 20–21 (Cantor Decl. ¶ 29); Dkt.

48-3 at 69–70 (Kenny Decl. ¶ 132). Detransition rates among youth have not been

exhaustively studied. But an evaluation of 952 adolescents observed that 26% of those

who started hormonal interventions before age 18 discontinued them, including 36%

of natal females. Dkt. 48-4 at 27–28 (Weiss Decl. ¶ 139). And that paper almost cer-

tainly undercounts. Years may elapse between receipt of hormones and detransition,

and a high proportion—by one estimate, 76%—“d[o] not inform their physicians about

their detransition.” Id. (¶¶ 138–39). Dr. Weiss estimates about 70% of the roughly

100 gender dysphoria patients he treated discontinued hormones. Id. at 28 (¶ 140).




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VI.   International Reevaluations of the Evidence

      Although WPATH and the Endocrine Society are fulfilling the wishes of ado-

lescents clamoring for medical interventions despite increasing evidence of regret,

international medical bodies are studying the evidence and charting a different path.

      1.     In 2020, the U.K.’s National Health Service commissioned an independ-

ent report by prominent pediatrician Dr. Hilary Cass on the use of puberty blockers

and cross-sex hormones. Dkt. 48-1 at 12–13, 15–16 (Cantor Decl. ¶¶ 12, 19). To aid

with the report, U.K.’s National Institute for Health Care Excellence (NICE) sur-

veyed the literature on efficacy and safety. Id. at 42 (¶ 77). It reported that the liter-

ature was “very low” quality, commenting that it either reported changes of “ques-

tionable clinical value” or was “not reliable.” Dkt. 49-5 at 41–42, 46 (NICE GnRH

Review 40–41, 45); see Dkt. 49-6 at 15, 48, 51 (NICE Hormone Review 14, 47, 50)

(similar). Any purported benefits, NICE stated, “could be due to confounding, bias or

chance.” Dkt. 49-5 at 46 (NICE GnRH Review 45). The “long-term safety profile” of

hormones is “largely unknown.” Dkt. 49-6 at 51 (NICE Hormone Review 50).

      Dr. Cass, in turn, reported that the evidence was “not strong enough” to rec-

ommend a policy. Dkt. 49-7 at 36 (Cass Report 35). She observed that decisions to

undergo “irreversible” medical interventions that come with various risks—from ste-

rility to cancer to osteoporosis—“need to be informed by long-term data” but that ex-

isting data was of “poor quality.” Id. at 37 (36); see id. at 38 (37). Dr. Cass further

emphasized the lack of “any data” on the new population of teenage girls that only

recently began presenting with gender dysphoria, observing that many of them “may




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not reach a settled gender expression until their mid-20s.” Id. at 37 (36). Following

Dr. Cass’s report, the U.K.’s National Health Service reversed its policy of routinely

providing puberty blockers and hormones to minors. Dkt. 48-1 at 16, 44 (Cantor Decl.

¶¶ 20, 82). “Little,” it commented, “is known about the long-term side effects of hor-

mone or puberty blockers.” Id. (citation omitted).

      2.     In 2019, Finland “commissioned a systematic review of the effectiveness

and safety of medicalized transition” as well. Dkt. 48-1 at 16–17 (Cantor Decl. ¶ 22).

It observed that “the youth who were functioning well after transition were those who

were already functioning well before transition, and those who were functioning

poorly before transition continued to function poorly after transition.” Id. at 17 (¶ 22).

“Medical gender reassignment is not enough to improve functioning and relieve psy-

chiatric comorbidities among adolescents with gender dysphoria.” Id.

      In 2020, Finland “ended the surgical transition of minors” and sharply re-

stricted other medical interventions. Dkt. 48-1 at 17 (Cantor Decl. ¶ 24). Its governing

policy body concluded that, due to scant evidence, puberty blockers and cross-sex hor-

mones are “experimental.” Dkt. 49-9 at 9 (COHERE Recommendation 8). It stated

that medical interventions must be done “with a great deal of caution, and no irre-

versible treatment should be initiated.” Id. Medical interventions for minors accord-

ingly may be considered “only if” a minor’s transgender identity is “of a permanent

nature,” it “causes severe dysphoria,” “other psychiatric symptoms have ceased,” and

“adolescent development is progressing normally.” Id. at 10–11 (at 9–10). The “first-




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line intervention” should be “psychosocial support and, as necessary, gender-explor-

ative therapy and treatment for comorbid psychiatric disorders.” Id. at 9 (at 8).

       3.     In 2019, Sweden—the first country in the world to authorize legal gen-

der transitions—initiated its own systematic review. Dkt. 48-1 at 18–19 (Cantor Decl.

¶ 26). Released as a peer-reviewed article in 2023, the review concluded that “long-

term effects of hormone therapy on psychosocial and somatic health are unknown,

except that GnRHa treatment seems to delay bone maturation and gain in bone min-

eral density.” Dkt. 49-10 at 13 (Swedish Review 12). The review observed that there

were “[n]o randomised controlled trials” regarding safety and efficacy, and that exist-

ing observational studies were “limited by methodological weaknesses.” Id. at 10–11

(at 9–10). As the review explained, the “absence of long-term studies is worrying be-

cause many individuals start treatment as minors (<18 years) and [cross-sex hormone

therapy] is lifelong.” Id. at 11 (at 10).

       After the review, Sweden’s “leading . . . pediatric gender clinic” discontinued

hormonal interventions for patients under the age of 16 and limited hormonal inter-

ventions for minors over age 16 to closely supervised “clinical trials.” Dkt. 48-1 at 19

(Cantor Decl. ¶ 27). It cited a “lack of evidence for both the long-term consequences

of the treatments, and the reasons for the large influx of patients in recent years,”

adding that hormonal “treatments are potentially fraught with extensive and irre-

versible adverse consequences.” Id. (citation omitted). Sweden’s Board of Health and

Welfare issued a policy document reaching a similar conclusion. Id. at 20 (¶ 28). It

emphasized the “lack of reliable scientific evidence concerning the efficacy and




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safety,” observing that the evidence to support claimed benefits is “insufficient and

inconclusive for all reported outcomes.” Id. (citation omitted). The “risks” of medical

interventions, the board concluded, “outweigh the possible benefits.” Id.

      4.     In 2022, in response to the Swedish review, the French Académie Natio-

nale de Médecine changed its own stance on medical interventions, saying the “great-

est reserve is required.” Dkt. 49-11 at 2 (Académie 1). “[G]reat medical caution,” the

Académie observed, “must be taken in children and adolescents, given the vulnera-

bility, particularly psychological, of this population and the many undesirable effects,

and even serious complications, that some of the available therapies can cause.” Id.

The Académie attributed a “very important part” of the growing numbers of minors

with gender dysphoria to the “addictive character of excessive consultation of social

networks,” i.e., social media and peers. Id. at 3 (at 2). It advised providers “to extend

as much as possible the psychological support phase” of treatment. Id.

      5.     In 2022, Norway undertook a review as well and concluded medical in-

terventions for minors are “experimental.” Dkt. 48-1 at 21 (Cantor Decl. ¶ 30) (cita-

tion omitted). The review noted an eightfold increase in the number of minors seeking

treatment for gender dysphoria, particularly among young natal females. Id. at 22

(¶ 33). And it observed that the “knowledge base, especially research-based

knowledge for gender-affirming treatment (hormonal and surgical), is insufficient

and the long-term effects are little known.” Id. at 21 (¶ 31) (citation omitted). “This

applies particularly to the teenage population, which accounts for a large part of the




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increase in referrals to the specialist health service in the last decade.” Id. (citation

omitted).

VII.   Indiana’s S.E.A. 480 Restricts Experimental Interventions for Minors

       Amid growing calls for caution, Indiana enacted S.E.A 480 in April 2023.

S.E.A. 480 generally prohibits licensed medical practitioners from “knowingly

provid[ing],” or aiding or abetting another practitioner in providing, “gender transi-

tion procedures to a minor.” Ind. Code § 25-1-22-13(a)–(b). “[G]ender transition pro-

cedures” are procedures that seek to “(1) alter or remove physical or anatomical char-

acteristics or features that are typical for the individual’s sex” or “(2) instill or create

physiological or anatomical characteristics that resemble a sex different from the in-

dividual’s sex,” including “puberty blocking drugs, gender transition hormone ther-

apy,” and gender-reassignment surgeries. Id. § 25-1-22-5(a); see id. §§ 25-1-22-4, 25-

1-22-6, 25-1-22-8 (detailing which hormones and surgeries are covered). In S.E.A.

480, “sex” refers to “the biological state of being male or female, based on the individ-

ual’s sex organs, chromosomes, and endogenous hormone profiles.” Id. § 25-1-22-12.

       Under S.E.A. 480, medical practitioners may still provide (1) services for “a

disorder or condition of sexual development,” (2) services for a “physical disorder,

physical injury, or physical illness,” (3) services for “any infection, injury, disease, or

disorder” attributable to gender-transition procedures, and (4) “[m]ental health or so-

cial services.” Ind Code. §§ 25-1-22-5(b), 25-1-22-13(c). S.E.A. 480 also permitted prac-

titioners to continue prescribing gender transition hormones for up to 6 months after

its effective date to permit them to titrate down hormones. Id. § 25-1-22-13(d).




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VIII. District Court Proceedings

      Within hours of S.E.A. 480’s signing, plaintiffs filed this lawsuit. Dkt. 1. Plain-

tiffs include four transgender minors—all suffering from “multiple serious psychiat-

ric comorbidities,” Dkt. 48-4 at 8 (Weiss Decl. ¶ 28); see Dkt. 48-3 at 101–120 (Kenny

Decl. ¶¶ 192–234) (detailing comorbidities and trauma)—and their parents; Cathe-

rine Bast, a physician who provides puberty blockers and cross-sex hormones to mi-

nors; and her medical practice, Mosaic Health and Healing Arts. Dkt. 1 at 3–4 (¶¶ 7–

16). Plaintiffs alleged that S.E.A. 480 violates the Equal Protection Clause, substan-

tive due process, the First Amendment, Medicaid requirements, and the Affordable

Care Act. Dkt. 1 at 42–45 (¶¶ 212–23).

      Plaintiffs moved for a preliminary injunction and class certification. Dkt. 9;

Dkt. 10. When defendants moved to postpone class-certification briefing due to volu-

minous discovery for the preliminary-injunction motion and resource constraints,

Dkt. 29, the district court sua sponte proposed that it could issue a preliminary in-

junction extending “beyond the named plaintiffs” without certifying a class. SA38.

The court directed “Plaintiffs” to show cause “why briefing on their motion for class

certification should not be stayed.” SA40. The court did not give defendants an oppor-

tunity to respond. Instead, the court emphasized that it was “not address[ing] the

appropriate scope of preliminary injunctive relief,” which was the “subject of the par-

ties’ ongoing briefing.” SA39. Plaintiffs responded by acceding to a postponement of

class-certification briefing, even though (they conceded) defendants had not “agree[d]

to apply any injunction to all members of the putative classes.” Dkt. 42 at 1–2.




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      The court granted the motion for a preliminary injunction in part, enjoining

defendants from enforcing S.E.A. 480’s prohibitions on providing puberty blockers

and hormones and on “speech that would aid or abet gender transition procedures for

minors.” SA2. It did not enjoin S.E.A. 480’s application to surgeries. SA15.

      The court stated plaintiffs had “some likelihood of success” on their equal-pro-

tection claim. SA2. “While S.E.A. 480 prohibits both male and female minors from

using puberty blockers and cross-sex hormone therapy for gender transitions,” the

court applied heightened scrutiny. SA20. It reasoned that the statute rests upon a

“sex-based classification” because a “medical provider can’t know whether a gender

transition is involved without knowing the patient’s sex and the gender associated

with the goal of the treatment.” SA18–SA19.

      In applying heightened scrutiny, the court conceded Indiana has “legitimate”

interests in protecting children and regulating the medical profession. SA21–SA22.

It also conceded that “there are important reasons underlying the State’s regulation

of gender transition procedures for minors,” observing that medical interventions for

gender dysphoria carry risks, that “high-quality medical research” on the interven-

tions is “exceptionally limited,” and that the interventions’ “long term effects” are

“currently unknown.” SA1–SA2, SA22–SA23 (cleaned up).

      Even so, the court held that S.E.A. 480 failed heightened scrutiny because it

“categorically bans the use of puberty blockers and hormone therapy for gender tran-

sition for minors” and “Plaintiffs have designated evidence of risks” from a ban. SA24-

SA25. The court rejected the arguments that legislatures—not courts—get to decide




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how to make cost-benefit decisions when faced with conflicting evidence. SA25. The

court cited European decisions to permit “limited” use of puberty blockers and hor-

mones in “formal research” and “clinical trials” as evidence Indiana had more tailored

alternatives. SA26–SA27 (citations omitted). The court, however, did not specify what

limitations on gender-transition procedures it deemed sufficiently tailored.

      The court further held that plaintiffs had “some likelihood of success on their

First Amendment challenge to S.E.A. 480’s aiding and abetting provision, as applied

to speech.” SA29. The court concluded that the State lacked a compelling justification

for prohibiting speech about “gender transition procedures” by medical providers. Id.

The court rejected arguments that S.E.A. 480 prohibits only speech “incidental to

separate, prohibited conduct,” explaining that “Plaintiffs have some likelihood of suc-

cess on challenges to other portions of S.E.A. 480 as well.” SA28–SA29.

      The court concluded that the remaining factors relevant to injunctive relief fa-

vored plaintiffs for the same reasons it thought they had some likelihood of succeed-

ing on the merits. SA30–SA32. Although no class had been certified, the court pro-

hibited defendants “from enforcing the enjoined portions of S.E.A. 480 against any

provider, as to any minor.” SA33. The court theorized that the “pending” class-certi-

fication motion gave it “equitable power” to issue class-wide relief. Id.

                        SUMMARY OF THE ARGUMENT

      I.     The Equal Protection Clause permits States to protect all children from

unproven, risky, and often permanent gender-transition procedures that threaten

children’s health and wellbeing. Indiana’s S.E.A. 480 bans gender-transition




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procedures for children of both sexes, so rational-basis review applies. The statute

determines permissible uses of GnRH analogues and hormones based on age, proce-

dure, and medical condition—not sex. It mentions sex only for the purpose of distin-

guishing one medical procedure from another.

      Although gender transition means instilling different characteristics in males

and females, that is merely a reflection of distinct biological starting points and the

meaning of transition. S.E.A. 480’s ban on transition procedures for youth is broad

and sex-neutral, taking no account of which characteristics are being instilled. It is

the transition that matters. And regardless how one conceptualizes the procedures

affected, under Supreme Court precedent, regulations affecting a medical procedure

biologically exclusive to one sex do not trigger heightened scrutiny. Whether in the

doctor’s office or in the law, different standards of care based on differences in male

and female biology do not amount to “discrimination.”

      Whitaker ex rel. Whitaker v. Kenosha Unified School District No. 1 Board of

Education, 858 F.3d 1034 (7th Cir. 2017), does not say otherwise. As this Court re-

cently confirmed, that decision applies to school bathroom policies only. Its sex-stere-

otyping rationale cannot be extended to medical standards reflecting innate biological

differences between males and females without running afoul of Supreme Court prec-

edent. As a recent Sixth Circuit decision staying an injunction against a similar law

attests, S.E.A. 480 falls within States’ broad power over health.

      Allegations that S.E.A. 480 discriminates based on transgender status do not

warrant heightened scrutiny—transgender status is not a protected characteristic,




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and the statute reflects no facial discrimination or invidious intent. It merely regu-

lates procedures that are unproven and dangerous.

      Ultimately, S.E.A. 480 survives any level of scrutiny. Using GnRH analogues

and hormones to alter minors’ development risks substantial and permanent nega-

tive health outcomes and offers no proven benefits. Even the district court recognized

significant uncertainty surrounds gender-transition procedures. That uncertainty

justifies regulatory intervention to protect affected children. Indiana need not permit

indiscriminate use of experimental procedures on children—or even permit children

to be the subject of controlled experiments—merely because other jurisdictions do.

      II.     S.E.A. 480’s prohibition on aiding and abetting gender-transition proce-

dures mirrors traditional aiding-and-abetting prohibitions and is therefore valid.

S.E.A. 480 regulates conduct—not speech. The district court erred in treating S.E.A.

480’s prohibition as a speech regulation merely because it doubted whether the un-

derlying conduct could be constitutionally prohibited. Regardless, if Indiana can in

fact prohibit gender-transition procedures for minors, it plainly can also prohibit an-

yone from aiding and abetting those procedures.

       III.   The equities and public interest cut against an injunction. Upholding

the injunction would irreparably harm Indiana’s interest in enforcing democratically

enacted statutes and expose minors to harmful, irreversible procedures. No reliable

evidence supports the suggestion that “some minors” benefit from procedures, and

even if some might, that does not justify enjoining S.E.A. 480 as to all minors. Less-

intrusive treatments for gender dysphoria remain available.




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      IV.    At a minimum, S.E.A. 480’s enforcement cannot be enjoined as to every-

one in all circumstances. Class-wide relief cannot be issued absent a properly certified

class. And S.E.A. 480 can be applied constitutionally in some circumstances—as

shown by plaintiffs’ admission that Indiana may constitutionally hold physicians to

standards from WPATH and the Endocrine Society.

                              STANDARD OF REVIEW

      “A preliminary injunction is an extraordinary remedy never awarded as of

right.” Winter v. Nat. Res. Defense Council, Inc., 555 U.S. 7, 24 (2008). “A plaintiff

seeking a preliminary injunction must establish that he is likely to succeed on the

merits, that he is likely to suffer irreparable harm in the absence of preliminary relief,

that the balance of equities tips in his favor, and that an injunction is in the public

interest.” Id. at 20. Underlying legal conclusions are reviewed de novo, factual find-

ings for clear error, and the balancing of equities for abuse of discretion. See United

Air Lines, Inc. v. Air Line Pilots Ass’n, Int’l, 563 F.3d 257, 269 (7th Cir. 2009).

                                     ARGUMENT

I.    The Equal Protection Clause Permits Indiana To Protect Minors from
      Harmful and Unproven Gender-Transition Procedures

      As the district court recognized, “important reasons” underlie S.E.A. 480’s pro-

hibition on gender-transition procedures for minors. SA1. Those procedures cause po-

tentially irreversible changes to still-developing minors and carry lifelong health

risks, dramatically increasing risks for cancer, stroke, and other serious conditions.

Yet no reliable research supports their use. As a matter of the Constitution’s “original

fixed meaning,” it is implausible that “the people of this country ever agreed” to



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remove decisions about whether to permit unproven procedures from the “conven-

tional place” for dealing with them: “the democratic process.” L.W. ex rel. Williams v.

Skrmetti, 73 F.4th 408, 415 (6th Cir. 2023). “The State plainly has authority, in truth

a responsibility, to look after the health and safety of its children.” Id. at 419. The

district court’s theory that S.E.A. 480 unjustifiably discriminates based on sex ignores

that S.E.A. 480 prohibits both sexes from accessing gender-transition procedures.

And the significant uncertainties the court identified surrounding gender-transition

procedures for minors justifies S.E.A. 480’s ban on them regardless.

      A.     S.E.A. 480 classifies by age, procedure, and medical condition—
             not sex—rendering it subject to rational-basis review

      Generally, state laws regulating health and welfare are entitled to a “strong

presumption of validity” and “must be sustained if there is any rational basis on

which the legislature could have thought that it would serve legitimate state inter-

ests.” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2284 (2022) (quoting

Heller v. Doe, 509 U.S. 312, 319 (1993)). Sex-based classifications are subject to

heightened scrutiny. See Reed v. Reed, 404 U.S. 71, 75–76 (1971). A statutory classi-

fication is sex-based if the statute provides for “different treatment . . . on the basis

of sex,” preferring “members of either sex over members of the other.” Id.; see United

States v. Virginia, 518 U.S. 515, 532–33 (1996) (directing courts to “[f]ocus[] on the

differential treatment”); Frontiero v. Richardson, 411 U.S. 677, 682–83 (1973) (simi-

lar). A classification is not sex based, however, if there is a “lack of identity” between

the groups created and sex such that one of the groups contains “members of both

sexes.” Geduldig v. Aiello, 417 U.S. 484, 496 n.20 (1974).



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             1.     S.E.A. 480 applies equally to both sexes

      S.E.A. 480 does not prefer one sex to the other sex or in any way treat the two

sexes differently. Under S.E.A. 480, a physician cannot perform “any medical or sur-

gical service” on a minor that “seeks to” “alter or remove physical or anatomical char-

acteristics or features that are typical for the individual’s sex” or “instill or create

physiological or anatomical characteristics that resemble a sex different from the in-

dividual’s sex.” Ind. Code § 25-1-22-5(a)(1)–(2). That directive does not provide differ-

ent rules for males and females or for transgender and cisgender patients. And while

S.E.A. 480 affords some exemptions, those are based on age, procedure, and condition

(e.g., “disorder of sex development,” “physical injury,” etc.). Id. § 25-1-22-5(b). Both

the rule and the exceptions apply equally to both sexes and all gender identities.

      S.E.A. 480 mentions the word “sex” only to distinguish gender-transition pro-

cedures from other medical procedures that use GnRH analogues and hormones to

achieve different, legitimate goals. Put another way, S.E.A. 480 uses sex to identify a

distinct type of procedure—not to determine its permissibility. Knowing a minor’s sex

is not enough to know whether S.E.A. 480 bans a particular use of GnRH analogues

and hormones. As the district court observed, the provider must know both “the pa-

tient’s sex and the gender associated with the goal of treatment.” SA18–SA19 (empha-

sis added). A provider must know the medical goal because that goal, along with age

and medical condition, determines permissibility.

      With S.E.A. 480, Indiana has chosen among competing standards of care for

minors with gender dysphoria, preferring more conservative psychological




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interventions over invasive medical interventions that lack supporting evidence. But

it has not allowed males to access medical interventions for gender dysphoria while

prohibiting females from accessing them. As the district court conceded, “S.E.A. 480

prohibits both male and female minors” from undergoing medicalized “gender transi-

tion[s].” SA20 (emphasis added). Sex does not determine access to gender-transition

procedures. Accordingly, S.E.A. 480 fits comfortably within Indiana’s broad authority

to enact “health and welfare laws.” Dobbs, 142 S. Ct. at 2284.

             2.     Supreme Court precedent precludes heightened scrutiny

      The district court objected that S.E.A. 480 “allows physicians . . . to ‘instill or

create’ characteristics ‘resembl[ing]’ female anatomical characteristics for females

but not for males, and male anatomical characteristics for males but not females.”

SA18. First, however, that outcome is incidental to the sex-neutral prohibition on

invasive, often-irreversible gender-transition procedures. Second, under Supreme

Court precedent, the relevant question is whether a statute prefers one sex to an-

other. See Reed, 404 U.S. at 75–76. Simply recognizing that physicians address male

and female biology differently does not trigger heighted scrutiny. No one would think

that a statute prohibiting physicians from administering pregnancy tests to males

constitutes sex discrimination. As the Supreme Court has explained, “[t]he regulation

of a medical procedure that only one sex can undergo does not trigger heightened

constitutional scrutiny unless the regulation is a ‘mere pretex[t] designed to effect an

invidious discrimination against members of one sex or the other.’” Dobbs, 142 S. Ct.

at 2245–46 (quoting Geduldig, 417 U.S. at 496).




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      That rule makes sense. Heightened scrutiny’s purpose is to ensure that classi-

fications do not rest on “overbroad generalizations” that are “entirely unrelated to

any differences between men and women.” Michael M. v. Superior Ct. of Sonoma

Cnty., 450 U.S. 464, 469 (1981) (citation omitted); see Virginia, 518 U.S. at 533. The

Equal Protection Clause, however, does not require “things which are different in fact

. . . to be treated in law as though they were the same.” Michael M., 450 U.S. at 464

(citation omitted). Indeed, it would “disserv[e]” equal protection to ignore “basic bio-

logical differences” between men and women when it comes to medical procedures

intertwined with sex. Nguyen v. INS, 533 U.S. 53, 73 (2001). For physicians to blind

themselves to sex in treating patients for testicular or ovarian cancer, male or female

infertility, or sex disorders would be malpractice, not a cause for celebration.

      As a result, the Supreme Court has refused to apply heightened scrutiny to

statutes dealing with biologically rooted distinctions. In Geduldig, for example, the

Court held that excluding “pregnancy”—a condition that affects “only women”—from

a “list of compensable disabilities” did not trigger heightened scrutiny. 417 U.S. at

496 n.20. Similarly, in Dobbs, the Supreme Court refused to apply heightened scru-

tiny to abortion regulations despite the fact they affect only women. See Dobbs, 142

S. Ct. at 2245–46. “The regulation of a medical procedure that only one sex can un-

dergo does not trigger heightened constitutional scrutiny.’” Id.

      Dobbs and Geduldig dispose of the district court’s objection here. As plaintiffs

see the world, physicians cannot treat gender dysphoria in young females by permit-

ting the natural development of female or anatomical characteristics. They must




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prevent female characteristics and instill male ones. Dkt. 26-2 at 12–16 (Shumer

Decl. ¶¶ 51–54, 58, 61–62). So physicians cannot use estrogen to treat gender dyspho-

ria in girls; only testosterone will do. See Dkt. 48-2 at 39–40 (Hruz Decl. ¶ 68); Dkt.

48-4 at 23 (Weiss Decl. ¶¶ 107–08); Dkt. 26-1 at 11 (Karasic Decl. ¶ 43). Thus, by

definition, gender-transition procedures to make a female look like a male (or a male

look like a female) are ones that “only one sex can undergo.” Dobbs, 142 S. Ct. at 2245;

see L.W., 73 F.4th at 419. Banning them therefore raises no constitutional hackles.

      S.E.A. 480 need not prohibit GnRH analogues and hormones “in all circum-

stances,” for Dobbs and Geduldig to apply. SA18–SA19. As Dobbs and Geduldig es-

tablish, the mere fact that physicians know a patient’s sex (which informs what ser-

vices they provide to a given patient) does not mean a statute distinguishing among

procedures is sex-based. Nor are two medical procedures the same merely because

they happen to use the same drugs. Obviously giving males abnormally high doses of

testosterone to boost performance during the Tour de France is a different medical

use of the drug than prescribing it in small doses to treat delayed male puberty, an

objectively verifiable sex disorder. The medical “goal,” drug regimen, etc. matter.

      Indeed, significant differences between the medical procedures permitted and

those banned justify the distinction. When physicians prescribe GnRH analogues for

central precocious puberty, another objectively verifiable disorder, they attempt to

ensure that puberty happens at the normal age. Dkt. 48-2 at 20–24, 34–36 (Hruz

Decl. ¶¶ 37–45, 61–63). By contrast, when physicians prescribe GnRH analogues for

gender dysphoria, they seek to disrupt a properly functioning endocrine system to




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prevent normal puberty. Id. Similarly, when physicians prescribe testosterone to

males for the objectively verifiable disorder of delayed puberty, they give low doses

for a few months to induce normal puberty. Id. at 27–29, 38–42 (¶¶ 50–53, 68–75).

By contrast, when physicians prescribe testosterone to females for gender dysphoria,

they give high doses indefinitely to suppress a properly functioning system. Id. The

condition treated—and the intent, effects, and method of treatment—differ.

      In short, Dobbs and Geduldig preclude heightened scrutiny absent proof that

S.E.A. 480’s procedure-based classification is “mere pretex[t]” for “invidious discrim-

ination against the members of one sex.” Dobbs, 142 S. Ct. at 2246 (quoting Geduldig,

417 U.S. at 496 n.20). But the district court never suggested that S.E.A. 480 secretly

prefers one sex to the other; the court admitted that S.E.A. 480 treats “both male and

female minors” the same, adding that “legitimate,” “important” reasons underlie its

restrictions. SA1, SA20–SA21. Rational-basis review thus applies. “If a law restrict-

ing a medical procedure that applies only to women does not trigger heightened scru-

tiny, as in Dobbs, a law equally applicable to all minors, no matter their sex at birth,

does not require such scrutiny either.” L.W., 73 F.4th at 419.

             3.     Whitaker does not require heightened scrutiny

      Whitaker ex rel. Whitaker v. Kenosha Unified School District No. 1 Board of

Education, 858 F.3d 1034 (7th Cir. 2017), does not require a different conclusion.

Contra SA20. First, that decision addressed Title IX and the Equal Protection

Clause’s application to a school bathroom policy that classified “based upon the sex

listed on the student’s birth certificate.” Id. at 1051. It did not address medical




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regulations classifying by medical goal (even if discerning the goal requires reference

to sex). And this Court has since clarified that Whitaker does not preordain answers

to questions about “how Title IX and the Equal Protection Clause regulate” other

matters, including “sex-segregated living facilities, educational programs, or sports

teams.” A.C. ex rel. M.C. v. Metropolitan Sch. Dist. of Martinsville, --- F.4th ---, 2023

WL 4881915, at *9 (7th Cir. Aug. 1, 2023).

      Second, Whitaker’s sex-stereotyping rationale cannot be extended to this case

without running headlong into Supreme Court precedent. In Whitaker, this Court

stated that the bathroom policy treated “transgender students . . . differently” for

“fail[ing] to conform to the sex-based stereotypes associated with their assigned sex

at birth.” 858 F.3d at 1051. It criticized the policy for resting on “conjecture” about

culturally appropriate privacy levels, observing that the policy did not distinguish

based on “biological sex” but the “marker on a birth certificate.” Id. at 1052–53.

      Whatever the validity of Whitaker’s reasoning, it cannot control here. S.E.A.

480 classifies by medical procedure. Its classification reflects that, as a biological mat-

ter, males and females have different chromosomes, genitalia, and healthy hormone

levels. But the Supreme Court has warned against deriding such “basic biological

differences” as “stereotypes.” Nguyen, 533 U.S. at 73; see Virginia, 518 U.S. at 533

(“[t]he two sexes are not fungible” (citation omitted)). And since Whitaker, the Su-

preme Court has held that heightened scrutiny cannot be applied to medical regula-

tions that simply account for biological differences. See Dobbs, 142 S. Ct. at 2245–46.




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As the Sixth Circuit recently observed, “Dobbs prevents [courts] from extending” sex-

stereotyping rationales to statutes like S.E.A. 480. L.W., 73 F.4th at 421.

      Third, Whitaker’s rejection of sex stereotyping is equally damaging to plain-

tiffs’ position. According to plaintiffs’ experts, gender identity is an unverifiable, sub-

jective, “deeply felt sense of being male, female, or another gender.” Dkt. 48-9 at 9

(Karasic Dep. 25:6–9). Such feelings are developed through “interact[ions]” with

“other person[s]” and “society.” Dkt. 48-10 at 19 (Shumer Dep. 65:13–66:5). In other

words, gender identity is both a response to one set of stereotypes and an embrace of

other stereotypes.

      Stereotypes permeate gender dysphoria as well. Diagnostic questions include

whether a child prefers “typical masculine clothing,” “games or activities stereotypi-

cally used or engaged in by the other gender,” and “playmates of the other gender.”

Dkt. 49-4 at 7 (DSM-5 TR 3). The premise of plaintiffs’ approach is that a male who

does not feel like other males must be the wrong sex, which denies that males can

have a wider variety of feelings and experiences than is stereotypical.

      Thus, if anything, S.E.A. 480 stops medical practitioners from foisting irre-

versible procedures on minors who do not conform to sex stereotypes. As Cohn ob-

serves, he would never have transitioned if he had realized that his “stereotypically

feminine attitudes and behaviors did not . . . make [him] a woman, but rather a fem-

inine man.” Dkt. 49-13 at 6 (Cohn Decl. ¶ 14). Surely, heightened scrutiny should not

apply to a prohibition on an extreme and pernicious form of sex stereotyping.




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             4.     The Sixth Circuit’s recent ruling confirms rational-basis
                    review applies

      The Sixth Circuit’s recent ruling in favor of Tennessee’s prohibition on gender-

transition procedures for minors confirms rational-basis review should apply here.

L.W., 73 F.4th at 419. In L.W., the Sixth Circuit explained that a sex-based classifi-

cation must “prefer one sex to the detriment of the other.” Id. Tennessee’s sex-neutral

ban—which “applies to all minors, regardless of their biological birth with male or

female sex organs”—did not meet that criterion. Id. The Sixth Circuit also dismissed

concerns that Tennessee prohibited “procedures that administer cross-sex hormones

but not those that administer naturally occurring hormones.” Id. Under Dobbs, the

court explained, heightened scrutiny does not apply to medical procedures that “only

one sex can undergo.” Id. (quoting Dobbs, 142 S. Ct. 2245–46).

      As L.W. and the district court noted, the Eighth Circuit applied heightened

scrutiny to an Arkansas statute prohibiting gender-transition procedures. See Brandt

ex rel. Brandt v. Rutledge, 47 F.4th 661, 669 (8th Cir. 2022). But it did not consider

Supreme Court precedent holding that a sex-based classification must provide for

“different treatment” and prefer “members of either sex over members of the other.”

Reed, 404 U.S. at 75–76. Nor did it consider Supreme Court precedent holding that a

procedure “only one sex can undergo” merits rational-basis review. Dobbs, 142 S. Ct.

2245–46. As five different judges of the Eighth Circuit observed, there is “reason to

be skeptical” of the panel decision. Brandt ex rel. Brandt v. Rutledge, No. 21-2875,

2022 WL 16957734, at *1 n.1 (8th Cir. Nov. 16, 2022) (Stras, J., dissenting from denial

of rehearing en banc). This Court should not take the wrong end of a circuit split.



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      B.     Alleged disparate impacts on transgender persons do not war-
             rant heightened scrutiny

      Plaintiffs alternatively have argued that heightened scrutiny applies because

S.E.A. 480 discriminates against transgender persons who should be treated as a

quasi-suspect class. Dkt. 27 at 20. The district court did not reach that argument,

SA21 n.3, and this Court should not adopt it either.

      First, as plaintiffs have admitted, S.E.A. 480 does not facially discriminate

against transgender persons. Dkt. 27 at 20. It prohibits gender-transition procedures,

making exceptions based on age, condition, and procedure. See Ind. Code §§ 25-1-22-

5(a)(1)–(2), 25-1-22-5(b). Both transgender and cisgender persons are subject to the

law and eligible for its exceptions, so no facial discrimination based on transgender

status occurs. See Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791,

809 (11th Cir. 2022) (en banc) (citing Geduldig, 417 U.S. at 497 n.20). Nor can plain-

tiffs credibly claim disparate impact and invidious intent. See Vill. of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977). As the district court

recognized, S.E.A. 480 was enacted for “legitimate,” “important reasons.” SA1, SA21.

      Second, transgender persons are not a quasi-suspect class. See L.W., 73 F.4th

at 419–21; cf. Adams, 57 F.4th at 803 n.5 (expressing “grave doubt”). The Supreme

Court has recognized only sex, Craig v. Boren, 429 U.S. 190, 197 (1976), and illegiti-

macy, Mathews v. Lucas, 427 U.S. 495, 505–06 (1976), as quasi-suspect classes. It has

repeatedly declined to recognize others. See, e.g., Bowen v. Gilliard, 483 U.S. 587,

601–2 (1987) (family units); Lyng v. Castillo, 477 U.S. 635, 638 (1986) (close relatives);




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City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 441–42 (1985) (mental disa-

bility); Mass. Bd. of Retirement v. Murgia, 427 U.S. 307, 312–3 (1976) (age).

      Transgender status does not meet the criteria for a new protected class. It is

not an obvious, “immutable characteristic determined solely by the accident of birth.”

Frontiero, 411 U.S. at 686. According to plaintiffs’ experts, transgender status de-

pends on a “person’s internal sense of belonging.” Dkt. 26-02 at 6 (Shumer Decl. ¶ 27).

That sense of belonging cannot be objectively measured. Dkt. 48-1 at 52 (Cantor Decl.

¶ 104); Dkt. 48-10 at 9, 11 (Shumer Dep. 27:1–5, 33:14–15); Dkt. 48-11 at 8 (Turban

Dep. 24:1–6). Gender identity, moreover, can—and frequently does—“evolve.” Dkt.

26-02 at 6–7 (Shumer Decl. ¶ 28). Up to 88% of children with gender dysphoria grow

out of it. Dkt. 48-1 at 59 (Cantor Decl. ¶ 115).

      Transgender minors have not been “historical[ly]” subjected to medical dis-

crimination for no legitimate reason. Bowen, 483 U.S. at 602; see City of Cleburne,

473 U.S. at 440–41. Many medical organizations support transgender persons—and

have since at least 1979. Dkt. 26-01 at 9, 17–18 (Karasic Decl. ¶¶ 34, 60). And while

Indiana now restricts unproven gender-transition procedures for minors, that meas-

ure reflects genuine concern for their wellbeing. See SA1, SA21. Progressive Euro-

pean countries share that same conviction. Indiana permits transgender minors to

access less risky, more beneficial interventions, such as psychotherapy.

      Relatedly, transgender persons are not a politically powerless minority with

“no ability to attract the attention of lawmakers.” City of Cleburne, 473 U.S. at 445.

President Biden has issued various executive orders intended to advance transgender




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rights. See, e.g., Exec. Order No. 13,988, 86 Fed. Reg. 7,023 (Jan. 20, 2021); Exec.

Order No. 14,020, 86 Fed. Reg. 13,797 (Mar. 8, 2021); Exec. Order No. 14,021, 86 Fed.

Reg. 13,803 (Mar. 8, 2021). An abundance of advocacy groups support transgender

persons as well. See, e.g., Transgender Resources, ABA, https://www.ameri-

canbar.org/groups/diversity/sexual_orientation/resources/transgenderrights/.

      In any event, the absence of binding precedent recognizing transgender status

as a protected characteristic is a sufficient reason to hold plaintiffs are not likely to

succeed on the merits. “The bar for recognizing a new quasi-suspect class”—some-

thing the Supreme Court has not done for more than four decades—“is a high one.”

L.W., 73 F.4th at 420. And excellent reasons justify “hesitat[ing]” before recognizing

transgender status as a protected characteristic, especially since doing so would pose

“vexing line-drawing dilemmas” for sports and medicine. Id.

      C.     S.E.A. 480’s ban on subjecting minors to unproven, harmful pro-
             cedures satisfies any level of scrutiny

      Even under heightened scrutiny, S.E.A. 480 survives. Its classification “serves

important governmental objectives” and is “substantially related to the achievement

of those objectives,” Nguyen, 533 U.S. at 70 (cleaned up)—namely, it protects children

from unproven, often irreversible medical interventions that can have long-term neg-

ative consequences for their health and well-being.

             1.      S.E.A. 480 serves important state interests

      The district court did not dispute that S.E.A. 480 serves important state inter-

ests in “safeguarding the physical and psychological well-being of a minor,” New York

v. Ferber, 458 U.S. 747, 756–57 (1982), and “regulating the medical profession,”



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Gonzales v. Carhart, 550 U.S. 124, 157 (2007). The court recognized evidence demon-

strating “the safety and effectiveness of puberty blockers and hormone therapy is un-

certain and unsettled.” SA23. Using blockers and hormones carries significant

“risks,” and many long-term consequences are “unknown.” SA22–SA23. “Indeed,” the

court observed, “the consensus from all sides is that more research is needed to ex-

plore these risks.” SA23.

      Using GnRH analogues off-label to prevent normal puberty is undeniably

risky. Even when properly administered to prevent premature puberty, GnRH ana-

logues “may cause hot flashes, weight gain, fatigue,” “mood alterations,” and in-

creased brain pressure capable of causing “headache[s] and loss of eyesight.” Dkt. 48-

4 at 20 (Weiss Decl. ¶¶ 90-93); see Dkt. 48-2 at 25, 36 (Hruz Decl. ¶¶ 43, 61). Psychi-

atric effects, including suicidality, are also possible. Dkt. 48-1 at 103 (Cantor Decl. ¶

220). When physicians attempt to prevent normal puberty, the risks multiply. To

date, “no controlled trials . . . prove the safety” of using GnRH analogues to prevent

endogenous puberty in minors. Dkt. 48-4 at 20 (Weiss Decl. ¶ 89). That procedure

creates risks for stature, bone density, the ability to orgasm, cardiovascular health,

and brain maturation. Dkt. 48-2 at 35–38 (Hruz Decl. ¶¶ 61–66); Dkt. 48-1 at 99–104

(Cantor Decl. ¶¶ 207–13, 215–21).

      Exposing minors to cross-sex hormones increases the chance of harm. Contin-

ued exposure causes “permanent” changes, such as lowered voices in natal females.

Dkt. 48-11 at 18 (Turban Dep. 61:6–15). That sets the stage for profound regret

among minors who later detransition. See pp. 18–19, supra.




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      Moreover, no one knows whether exposing “immature gonads” to cross-sex hor-

mones will cause permanent infertility. Dkt. 48-2 at 44 (Hruz Decl. ¶ 77); see id. at

38–39, 44–45 (¶¶ 67, 78). Even “advocates of transgender hormone therapy” recognize

“that hormonal treatment impairs fertility, which may be irreversible.” Id. at 44 (¶

77). “Other potential adverse effects” of cross-sex hormones “include disfiguring acne,

high blood pressure, weight gain, abnormal glucose tolerance, breast cancer, liver

disease, thrombosis,” “cardiovascular disease,” “lower bone density,” and “thrombo-

embolic stroke.” Dkt. 48-2 at 45–46 (Hruz Decl. ¶ 79); see Dkt. 48-4 at 23–25 (Weiss

Decl. ¶¶ 109–25). When natal females take testosterone, “breast cancer onset is 20

years earlier than expected,” the risk of heart attacks is 3.5 times greater, and the

stroke risk doubles. Dkt. 48-4 at 24 (Weiss Decl. ¶¶ 115, 117–18). Natal males taking

estrogen experience a “22-fold increase in the rate of breast cancer” and a “36-fold

higher risk of strokes.” Id. at 24–25 (¶¶ 119, 123).

      Meanwhile, no reliable evidence shows that prescribing GnRH analogues or

cross-sex hormones to minors for gender dysphoria produces offsetting benefits. No

randomized controlled trials—the “gold standard” for medical research—have exam-

ined the procedures. Dkt. 48-1 at 28, 30 (Cantor Decl. ¶¶ 44, 52). And as a chorus of

new systematic reviews observe, what little research exists is beset by severe “meth-

odological weaknesses.” Dkt. 49-10 at 10–11 (Swedish Review 9–10); see Dkt. 49-5 at

41–42, 45 (NICE GnRH Review 40–41, 44); Dkt. 49-6 at 15, 48, 51 (NICE Hormone

Review 14, 47, 50). Any purported benefits “could be due to confounding, bias or

chance.” Dkt. 49-5 at 46 (NICE GnRH Review 45). As a Swedish systematic review




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recently summarized, the “long-term effects of hormone therapy on psychosocial and

somatic health are unknown, except that GnRHa treatment seems to delay bone mat-

uration and gain in bone mineral density.” Dkt. 49-10 at 13 (Swedish Review 12).

Unquestionably, S.E.A. 480 serves compelling state interests.

             2.     S.E.A. 480 is substantially related to its objectives

      According to the district court, the problem with S.E.A. 480 is that it “categor-

ically bans the use of puberty blockers and hormone therapy for gender transition for

minors.” SA24. The court cited European decisions to limit hormone therapy to “‘for-

mal research’” or “‘monitored clinical trials’” as evidence that “more tailored alterna-

tives to S.E.A. 480” are available. SA26–SA27 (citation omitted). But the mere fact

that some bodies have chosen to permit research does not mean Indiana must do the

same—much less permit the indiscriminate use of puberty blockers and hormones

outside the research context. Indiana need not make its children test subjects.

      Under our Constitution, policy decisions about whether to permit limited re-

search or to ban unproven procedures altogether are for legislatures—not courts—to

make. The “normal rule” is that courts must “defer to the judgments of legislatures

“‘in areas fraught with medical and scientific uncertainties.’” Dobbs, 142 S. Ct. at

2268 (quoting Marshall v. United States, 414 U.S. 417, 427 (1974)). That remains true

in the context of heightened scrutiny. Contra SA25–SA26. Even when the Supreme

Court applied the undue-burden standard to abortion regulations, it held that

“[m]edical uncertainty does not foreclose the exercise of legislative power in the




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abortion context any more than it does in other contexts.” Carhart, 550 U.S. at 164.

“[M]edical uncertainty . . . provides a sufficient basis” to uphold a law. Id.

      Adopting the district court’s contrary view would threaten harm. Under its

view, legislatures would be forced to permit potentially harmful procedures so long

as some conflicting evidence remains. It would give “parents and a doctor exclusive

authority to decide whether to permit a potentially irreversible new drug treatment,”

even in the absence of “satisfactory long-term testing.” L.W., 73 F.4th at 417. Surely,

however, the Constitution does not require States to refrain from legislating on con-

troversial subjects “where there is medical and scientific uncertainty.” Carhart, 550

U.S. at 163. Such a rule would impair the legislative power where it is most needed

to resolve competing opinions about acceptable medical risks and benefits.

      In deeming S.E.A. 480 overbroad, the district court cited the “experience” of

plaintiffs’ expert, Dan Karasic, for the proposition that gender-transition procedures

benefit “some minors.” SA24–SA25 n.4, SA30. As an initial matter, a single practi-

tioner’s “experience” is a poor basis for concluding that the procedures benefit any

minor. Individual experience is the “least reliable source of medical knowledge” be-

cause it is “subject to bias” and cannot control for confounding variables. Dkt. 48-1 at

30 (Cantor Decl. ¶ 53). By contrast, systematic reviews provide the most reliable ev-

idence of what is “actually known or not known.” Id. at 25 (¶ 39). So “foundational

principles of evidence-based medicine” demand that Karasic’s personal experience

yield to recent systematic reviews concluding that gender-transition procedures pro-

vide no proven benefit. Id. at 24–25, 26 (Cantor Decl. ¶¶ 38, 41).




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      Even if one credits Karasic’s personal “experience,” however, it still does not

follow that S.E.A. 480 reaches too far. Heightened scrutiny does not “require[] that

the statute under consideration must be capable of achieving its ultimate objective in

every instance.” Nguyen, 533 U.S. at 70 (cleaned up). It thus does not matter whether

Karasic (or other practitioners) believe that gender-transition procedures benefit

“some minors” based on “experience” with a limited number of minors or that some

countries deem controlled trials on small groups acceptable. Under heightened scru-

tiny, it suffices that systematic reviews find no reliable evidence that the benefits of

puberty blockers and cross-sex hormones generally outweigh their dangers.

      The difficulty with determining ex ante which minors might benefit reinforces

that no more tailored alternative is available. “No means of either falsifying or veri-

fying” gender identity exists. Dkt. 48-1 at 52 (Cantor Decl. ¶ 104); see Dkt. 48-10 at

9, 11 (Shumer Dep. 27:1–5, 33:14–15); Dkt. 48-11 at 8 (Turban Dep. 24:1–6); Dkt. 48-

8 at 15 (Mosaic Dep. 51:5–6). And plaintiffs’ own witnesses admit that “gender iden-

tity may evolve over time,” Dkt. 26-2 at 6-7 (Shumer Decl. ¶ 28); see Dkt. 48-8 at 13

(Mosaic Dep. 44:13–15, 46:14–25) (agreeing that “gender identity change[s] over

time”). Indeed, while no studies examine adolescent onset gender dysphoria, research

consistently finds that up to 88% of gender dysphoric children will desist. Dkt. 48-1

at 59 (Cantor Decl. ¶ 115). There is, however, no “reliable procedure for discerning

which children . . . will persist.” Id. at 61 (¶ 122); see id. at 62–63, 118–22 (¶¶ 123–

24, 265–71). As the Endocrine Society admits, “we cannot predict the psychosexual

outcome for any specific child.” Dkt. 49-1 at 9 (Hembree 3876).




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      In short, physicians cannot know which minors being given puberty blockers

and pumped with hormones will later detransition or regret having their bodies per-

manently altered. It is thus entirely appropriate to prohibit physicians from inducing

irreversible changes that carry health risks in minors who do not have the legal ca-

pacity or mental maturity to consent—and whose gender identities may change.

II.   Indiana May, Consistent with the First Amendment, Prohibit Medical
      Providers from Aiding or Abetting Unlawful Procedures

      Under S.E.A. 480, a “physician or other practitioner may not aid or abet an-

other physician or practitioner in the provision of gender transition procedures to a

minor.” Ind. Code § 25-1-22-13(b). No case, however, has ever declared “an abridge-

ment of freedom of speech or press” merely because a law forbids conduct “in part

initiated, evidenced, or carried out by means of language, either spoken, written, or

printed.” United States v. Hansen, 143 S. Ct. 1932, 1947 (2023) (quoting Giboney v.

Empire Storage & Ice Co., 336 U.S. 490, 502 (1949)). That principle controls here.

S.E.A. 480 prohibits any action that aids or abets a gender-transition procedure as

part of a broader scheme of regulating the procedures themselves. It is a regulation

of conduct that affects speech only incidentally.

      The district court suggested that S.E.A. 480 “burden[s] speech ‘on its face,’”

rather than regulates it as “incidental to separate, prohibited conduct.” SA28–SA29.

But S.E.A. 480 is written no differently from traditional aiding-and-abetting prohibi-

tions. For centuries, governments have prohibited “aiding or abetting” conduct. See

Hansen, 143 S. Ct. at 1940–45. Traditional aiding-and-abetting restrictions encom-

pass “lending physical aid” or using “words” to further a prohibited enterprise. Id. at



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1940. But traditional aiding-and-abetting prohibitions have “never been deemed an

abridgement of freedom of speech.” Id. at 1947 (quoting Giboney, 336 U.S. at 502); see

Rice v. Paladin Enters., Inc., 128 F.3d 233, 244 (4th Cir. 1997). So S.E.A 480’s prohi-

bition cannot be held to constitute an unlawful speech restriction either.

       In many ways, the district court’s First Amendment analysis appears to de-

pend on its ruling that Indiana cannot constitutionally prohibit gender-transition

procedures. SA29 n.7. But it is hard to see why that matters for determining whether

the aiding-and-abetting provision’s impact on speech is “incidental” to S.E.A. 480’s

“regulation of conduct.” Rumsfeld v. F. for Acad. & Institutional Rts., Inc., 547 U.S.

47, 62 (2006). And if S.E.A. 480’s regulation of conduct is constitutional, then the

district court’s rationale falls apart. Thus, at a minimum, the court should not have

enjoined S.E.A. 480’s aiding-and-abetting provision as applied to surgeries because

the court declined to address them. SA16, SA35.

       Finally, even under strict scrutiny, S.E.A. 480 survives. Its aiding-and-abet-

ting prohibition is necessary to advance compelling state interests in preventing

harm to minors and regulating the medical profession. See pp. 42–48, supra.

III.   Equitable Considerations Militate Against Injunctive Relief

       Considerations of equity and the public interest foreclose the injunction too.

Under the injunction, Indiana “suffer[s] irreparable harm from its inability to enforce

the will of its legislature, to further the public-health considerations undergirding the

law, and to avoid irreversible health risks to its children.” L.W., 73 F.4th at 421.




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      The district court cited mental-health risks as cutting in the opposite direction,

asserting that “there’s evidence that puberty blockers and cross-sex hormone therapy

reduces distress for some minors diagnosed with gender dysphoria.” SA30 (emphasis

added). But it is for “elected representatives” to make “cost-benefit decisions” about

medical treatments. L.W., 73 F.4th at 421. So even if there is some evidence of benefit,

the district court overstepped by enjoining S.E.A. 480’s enforcement in the face of

evidence that gender-transition procedures carry significant risks that cannot be un-

done and will cause irreversible changes to minors. See id.

      That is particularly true given the injunction’s sweeping scope. The court en-

joined S.E.A. 480’s enforcement against “any provider” treating “any minor.” SA33.

To conclude that the equities favor that relief, the district court needed evidence that

gender-transition procedures will provide more benefit than harm for all affected mi-

nors. See United States v. Salerno, 481 U.S. 739, 745 (1987). It, however, merely cited

evidence that “some minors” could benefit. SA30.

      Ultimately, saying the evidence shows even “some minors” will benefit over-

states matters. Whatever Karasic’s experience or the individual plaintiffs’, no reliable

evidence shows that gender-transition procedures provide any long-term benefit. See

pp. 42–45, supra. No one can predict with confidence that the individual plaintiffs

here will persist rather than regret their life-altering decisions later. See pp. 47–48,

supra. Meanwhile, psychosocial support and psychotherapy have been used in treat-

ing gender-dysphoric patients for years with beneficial results. Dkt. 48-1 at 87–88,

90–94 (Cantor Decl. ¶¶ 178–79, 188–96); see Dkt. 48-4 at 7 (Weiss Decl. ¶ 26); Dkt.




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48-5 at 57–58, 70 (Kaliebe Decl. ¶¶ 150, 195). Several European authorities “now en-

dorse psychotherapy as the treatment of choice for minors.” Dkt. 48-1 at 14 (Cantor

Decl. ¶ 16). These less risky, more beneficial alternatives further undermine any sug-

gestion an injunction is necessary to prevent irreparable harm.

IV.    The District Court Erred in Enjoining Enforcement of S.E.A. 480
       Against Everyone and in All Circumstances

       Regardless of S.E.A. 480’s constitutionality, the preliminary injunction cannot

stand as written. As this Court recently held in Doe v. Rokita, 54 F.4th 518 (7th Cir.

2022), “relief should be no greater than necessary to protect the rights of the prevail-

ing litigants,” id. at 519. The district court violated that principle twice over.

       First, the district court erred in awarding relief to nonparties. In Doe, this

Court held that a district court may not grant relief to persons other than the named

plaintiffs where a “case has not been certified as a class action.” 54 F.4th at 519.

Granting broader relief, the Court explained, would “offend[] the principle that relief

should be no greater than necessary to protect the rights of the prevailing litigants.”

Id.; accord L.W., 73 F.4th at 415 (ruling that, “absent a properly certified class,” a

statewide prohibition on enforcing Tennessee’s prohibition on gender-transition pro-

cedures for minors likely “exceed[ed] the norms of judicial power”). Here, however,

the district court did what Doe forbids. It forbade S.E.A. 480’s enforcement against

“any provider, as to any minor,” without certifying a class. SA33.

       The district court deemed Doe inapplicable on the ground that plaintiffs’ “mo-

tion for class certification remains pending.” SA33. But a “nonnamed class member”

is not “a party to the class-action litigation before the class is certified.” Smith v. Bayer



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Corp., 564 U.S. 299, 313 (2011) (citation omitted). So a not-yet-decided motion for

class certification does not allow courts to treat putative class members as “prevailing

litigants.” Doe, 54 F.4th at 519. Mulholland v. Marion County Election Board, 746

F.3d 811 (7th Cir. 2014), does not suggest otherwise. Contra SA39. Mulholland did

not address courts’ authority to issue class-wide relief. It addressed the scope of a

prior consent judgment declaring a statute “facially unconstitutional” under the First

Amendment—a context in which precedent relaxes many of the usual requirements

for prospective relief. 746 F.3d at 819. Merely “styling” claims as “‘facial’ challenges”

does not authorize “class wide relief without . . . class certification.” Kane v. De Blasio,

19 F.4th 152, 173 (2d Cir. 2021).

       Second, whatever courts’ authority to grant class-wide relief before class certi-

fication, the district court erred in enjoining application of S.E.A. 480 in all circum-

stances. See L.W., 73 F.4th at 414–15. Even Mulholland recognizes that, to obtain a

declaration of facial unconstitutionality, plaintiffs “must ‘satisfy [the] standards for

a facial challenge.’” 746 F.3d at 819 (quoting John Doe No. 1. v. Reed, 561 U.S. 186,

194 (2010)). Satisfying that standard here would require plaintiffs to “‘establish that

no set of circumstances exists under which [S.E.A. 480] would be valid.’” Hansen, 143

S. Ct. at 1939 (quoting Salerno, 481 U.S. at 745).

       But plaintiffs’ own concessions establish some circumstances in which S.E.A.

480 passes constitutional muster. Plaintiffs admitted that Indiana may require med-

ical providers to follow “WPATH’s guidelines or the guidelines that Riley [hospital]

follows.” Dkt. 73 at 19:2–9. And plaintiffs’ experts admitted that, under WPATH




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guidelines, puberty blockers and cross-sex hormones are not always appropriate. Dkt.

48-9 at 22 (Karasic Dep. 77:25–79:16); Dkt. 48-11 at 12, 18, 48 (Turban Dep. 37:24–

39:9, 62:21–63:6, 183:1–25). Under the district court’s injunction, however, Indiana

cannot enforce S.E.A. 480 against providers who fall below standards to which plain-

tiffs have no constitutional objection. That overreach “offends the principle that relief

should be no greater than necessary.” Doe, 54 F.4th at 519.

                                   CONCLUSION

      The preliminary injunction should be vacated.


                                            Respectfully submitted,

                                            THEODORE E. ROKITA
                                            Attorney General of Indiana

                                            /s/ Thomas M. Fisher
                                            THOMAS M. FISHER
                                            Solicitor General

                                            JAMES A. BARTA
                                            Deputy Solicitor General

                                            MELINDA R. HOLMES
                                            Deputy Attorney General

                                            Office of the Attorney General
                                            IGC South, Fifth Floor
                                            302 W. Washington Street
                                            Indianapolis, IN 46204
                                            (317) 232-6255
                                            Tom.Fisher@atg.in.gov




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      1.     This document complies with the type-volume limitation of Circuit Rule

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August 21, 2023                              /s/ Thomas M. Fisher
                                             THOMAS M. FISHER
                                             Solicitor General
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                       REQUIRED SHORT APPENDIX

      Pursuant to Circuit Rule 30, Appellants submit the following as their Required

Short Appendix. Appellants’ Required Short Appendix contains all of the materials

required under Circuit Rule 30(a) and 30(b).


                                       By:     s/ Thomas M. Fisher
                                               Thomas M. Fisher
                                               Solicitor General
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                                 No. 23-2366

                             IN THE
                 UNITED STATES COURT OF APPEALS
                    FOR THE SEVENTH CIRCUIT

                                 K.C., ET AL.,
                                                 Plaintiffs-Appellees,
                                      v.

           INDIVIDUAL MEMBERS OF THE MEDICAL LICENS-
                   ING BOARD OF INDIANA, ET AL.,
                                                 Defendants-Appellants.


           On Appeal from the United States District Court for the
          Southern District of Indiana, No. 1:23-cv-00595-JPH-KMB,
                   The Honorable James P. Hanlon, Judge


   REQUIRED SHORT APPENDIX OF DEFENDANTS-APPELLANTS
              ____________________________________



Office of the Attorney General             THEODORE E. ROKITA
IGC South, Fifth Floor                     Attorney General of Indiana
302 W. Washington Street
Indianapolis, IN 46204                     THOMAS M. FISHER
(317) 232-6255                             Solicitor General
Tom.Fisher@atg.in.gov
                                           JAMES A. BARTA
                                           Deputy Solicitor General

                                           MELINDA R. HOLMES
                                           Deputy Attorney General

                      Counsel for Defendants-Appellants
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

  K. C., et al.                                  )
                                                 )
                            Plaintiffs,          )
                                                 )
                       v.                        )   No. 1:23-cv-00595-JPH-KMB
                                                 )
  THE INDIVIDUAL MEMBERS OF THE                  )
  MEDICAL LICENSING BOARD OF                     )
  INDIANA in their official capacities, et al.   )
                                                 )
                            Defendants.          )

                  ORDER GRANTING IN PART PLAINTIFFS' MOTION
                       FOR A PRELIMINARY INJUNCTION

         Recently enacted by the Indiana General Assembly, Senate Enrolled Act

  480 is scheduled to become effective July 1, 2023. If it takes effect, S.E.A. 480

  will prohibit physicians and other practitioners from knowingly providing

  gender transition procedures to a minor, and from aiding or abetting another

  physician or practitioner in the provision of gender transition procedures to a

  minor. Gender transition procedures banned by S.E.A. 480 include the use of

  puberty-blocking drugs, cross-sex hormone therapy, and gender reassignment

  surgery. Plaintiffs are four minor children, many of their parents, and a doctor

  and her family medical practice. Alleging that S.E.A. 480 violates the United

  States Constitution and other federal laws, Plaintiffs ask the Court to enter a

  preliminary injunction that would prohibit Defendants—who are various State

  officials—from enforcing S.E.A. 480.

         The State has a strong interest in enforcing democratically enacted laws.

  And Defendants have shown that there are important reasons underlying the



                                          SA1
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  State's regulation of gender transition procedures for minors. Still, Plaintiffs

  have carried their burden of showing some likelihood of success on their claims

  that S.E.A. 480 would violate their equal protection rights under the

  Fourteenth Amendment and free speech rights under the First Amendment.

  Under the evidence available at this preliminary stage, there is not a "close

  means–end fit" between the State's important reasons for regulating the

  provision of gender transition procedures to minors and S.E.A. 480's broad ban

  of those procedures. So, when the State's interests are weighed against the

  likelihood that Plaintiffs will be able to show that S.E.A. 480 would violate their

  constitutional rights and the risk of irreparable harm, Plaintiffs are entitled to a

  preliminary injunction.

        Plaintiffs' motion for a preliminary injunction is therefore GRANTED in

  part to the extent that, while this case is pending, Defendants may not enforce

  S.E.A. 480's prohibitions on (1) providing gender transition procedures for

  minors except gender reassignment surgery and (2) speech that would aid or

  abet gender transition procedures for minors. Dkt. [9]. Plaintiffs motion is

  DENIED in part as to the ban on gender reassignment surgeries. Plaintiffs

  lack standing to challenge that ban because gender reassignment surgeries are

  not provided to minors in Indiana.

                                         I.
                                Facts & Background

        The parties have submitted joint stipulated facts, dkt. 51, and more than

  3,000 pages of evidence. Dkt. 26; dkt. 48; dkt. 49; dkt. 58. They also jointly

  recommended to the Court that there was no need for an evidentiary hearing,



                                         SA2
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  see dkt. 22 at 3; dkt. 56, so the Court's recitation of the relevant facts is based

  on the written materials submitted with the parties' briefing.

        A. Sex, gender, and gender dysphoria

        A person's sex is generally identified at birth based on external genitalia.

  Dkt. 51 at 1 (parties' stipulated facts). Gender or gender identity, by contrast,

  commonly refer to a person's psychological and/or cultural sense of their sex

  or gender. Dkt. 26-1 at 7 (Karasic decl.); dkt. 48-2 at 12–13 (Hruz report).

  Most people's sex and gender identity match, but "[f]or transgender people,

  their assigned sex does not align with their gender identity." Dkt. 26-1 at 7

  (Karasic decl.).

        Gender dysphoria is a mental-health diagnosis recognized in the Fifth

  Edition of the American Psychological Association's Diagnostic and Statistical

  Manual of Mental Disorders ("DSM-5"), and can be diagnosed in pre-pubertal

  children, adolescents, or adults. Dkt. 51 at 2–3. The DSM-5 defines gender

  dysphoria as "[a] marked incongruence between one's experienced/expressed

  gender and assigned gender, of at least 6 months' duration, as manifested by"

  certain diagnostic criteria. Id. Gender dysphoria in adolescents or adults "is

  associated with clinically significant distress or impairment in social,

  occupational, or other important areas of functioning." Id. at 3.

        "There is no medical or surgical treatment indicated for children with

  gender dysphoria pre-puberty." Id. at 4. However, once puberty begins,

  "[a]dolescents diagnosed with gender dysphoria . . . may be prescribed puberty-

  delaying medications." Dkt. 26-2 at 13 (Shumer decl.). Then, in mid-




                                          SA3
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  adolescence, patients may be prescribed hormones—testosterone, or estrogen

  with a testosterone suppressant. Id. at 16. Gender-transition surgeries may

  also be considered, see dkt. 26-3 at 7 n.11 (Turban decl.), but in Indiana no

  "provider performs gender-transition surgery on persons under the age of 18."

  Dkt. 51 at 4.

        B. Senate Enrolled Act 480

        In early 2023, the Indiana General Assembly passed S.E.A. 480 and

  Governor Holcomb signed it into law. S.E.A. 480 (to be codified at Ind. Code §§

  25-1-22-1 et seq. (eff. July 1, 2023)).

        S.E.A. 480 would prohibit physicians and other medical practitioners

  from "knowingly provid[ing] gender transition procedures to a minor." S.E.A.

  480 § 13(a). The statute defines "gender transition" as "the process in which an

  individual shifts from identifying with and living as a gender that corresponds

  to his or her sex to identifying with and living as a gender different from his or

  her sex." Id. § 3. It defines "sex" as "the biological state of being male or

  female, based on the individual's sex organs, chromosomes, and endogenous

  hormone profiles." Id. § 12. And "gender" as "the psychological, behavioral,

  social, and cultural aspects of being male or female." Id. § 1.

        Under S.E.A. 480, the prohibited "gender transition procedures" include

  "any medical or surgical service . . . that seeks to:

               (1) alter or remove physical or anatomical
               characteristics or features that are typical for the
               individual's sex; or




                                            SA4
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               (2) instill or create physiological or anatomical
               characteristics that are different from the individual's
               sex."

  Id. § 5(a). The statute then excludes:

               (1)     Medical or surgical services to an individual born
               with a medically verifiable disorder of sex development,
               including an individual with:
                   (A) external sex characteristics that are irresolvably
                   ambiguous;
                   (B) forty-six (46) XX chromosomes with virilization;
                   (C) forty-six    (46)    XY     chromosomes       with
                   undervirilization; or
                   (D) both ovarian and testicular tissue.
               (2)     Medical or surgical services provided when a
               physician or practitioner has diagnosed a disorder or
               condition of sexual development that the physician or
               practitioner has determined through genetic or
               biochemical testing that the individual does not have
               normal sex chromosome structure, sex steroid hormone
               production, or sex steroid hormone action.
               (3)     The treatment of any infection, injury, disease, or
               disorder that has been caused by or exacerbated by the
               performance of gender transition procedures.
               (4)     Any medical or surgical service undertaken
               because the individual suffers from a physical disorder,
               physical injury, or physical illness that would, as
               certified by the physician or practitioner, place the
               individual in imminent danger of death or impairment
               of major bodily function unless the medical or surgical
               service is performed.
               (5)     Mental health or social services other than gender
               transition procedures as defined in subsection (a).
               (6)     Services for a disorder or condition of sexual
               development that is unrelated to a diagnosis of gender
               dysphoria or gender identity disorder.

  Id. § 5(b), see § 13(c).




                                           SA5
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        Medical services prohibited under S.E.A. 480 can thus include "medical

  services that provide puberty blocking drugs, gender transition hormone

  therapy, or genital . . . or nongenital gender reassignment surgery." Id. §

  5(a)(2). 1 Physicians and other medical practitioners are further prohibited from

  "aid[ing] or abet[ting] another physician or practitioner in the provision of"

  prohibited gender transition procedures to a minor. Id. § 13(b).

        Physicians or medical practitioners who violate S.E.A. 480 are subject to

  discipline by their regulating licensing boards. Id. § 15; Ind. Code § 25-1-9-

  4(a)(3) (providing for discipline for licensed medical providers who "knowingly

  violate[ ] any state statute . . . regulating the profession in question"). Private

  individuals may also bring lawsuits alleging violations of S.E.A. 480. S.E.A.

  480 § 17.

        C. Plaintiffs

        K.C. is the ten-year-old child of Nathaniel and Beth Clawson. See dkt.

  51 at 5. "K.C. was identified male at birth," but before the age of 4 "grabbed a

  pair of scissors, and asked to cut off K.C.'s penis, asserting that it should not

  be there." Id. An IU Health pediatrician diagnosed K.C. with gender

  dysphoria. Id. K.C. "socially transitioned [to female] before K.C. was 4 years

  old and uses female pronouns." Id. In 2017, K.C. first visited the Riley Gender




  1 S.E.A. 480 provides a limited extension to its July 1, 2023 effective date: physicians

  or medical practitioners may "continue to prescribe . . . until December 31, 2023,"
  gender transition hormone therapy to individuals who were taking that therapy "on
  June 30, 2023, as part of a gender transition procedure." S.E.A. 480 § 13(d).



                                            SA6
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  Health Clinic, which "again diagnosed [K.C.] with gender dysphoria." Id. at 6.

  K.C. began taking a puberty blocker in 2023. Id.

        M.W. is the 16-year-old child of Ryan and Lisa Welch. Id. "M.W. was

  identified female at birth" and "was diagnosed with gender dysphoria in

  adolescence." Id. at 6–7. At the age of 12, M.W. "declared that M.W. is a

  transgender male" and now "uses a stereotypically male first name and male

  pronouns." Id. at 7. "M.W. was prescribed testosterone" in July 2022, and

  continues to receive testosterone. Id. at 7.

        A.M. is the 11-year-old child of Emily Morris. Id. at 8. "At birth, A.M.

  was identified as male," but "[b]efore A.M. was 4 years of age, A.M. stated to

  family members that A.M. was a girl and was thinking about trying to cut off

  A.M.'s penis." Id. "A.M. socially transitioned before the age of 4" and since

  then "has used a stereotypically female first name and female pronouns." Id.

  A.M. has been diagnosed with gender dysphoria and receives a puberty

  blocker. Id. at 9-10.

        M.R. is the 15-year-old child of Maria Rivera. Id. at 10. "M.R. was

  identified as female at birth" and in December 2021 "declared . . . that M.R. is a

  transgender male." Id. "M.R. now consistently uses a stereotypically male first

  name and male pronouns." Id. M.R. has been diagnosed with gender

  dysphoria and receives testosterone under a prescription from Dr. Catherine

  Bast at Mosaic Health and Healing Arts ("Mosaic"). Id. at 11.

        Dr. Bast is a board-certified family-practice physician at Mosaic in

  Goshen, Indiana. Id. at 11–12. Mosaic currently treats 72 minor patients who




                                         SA7
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  are diagnosed with gender dysphoria and are prescribed either puberty

  blockers or hormones. Id. at 12.

        D. Defendants

        The individual members of the Medical Licensing Board of Indiana serve

  as members of the board that is responsible for the licensing and discipline of

  medical providers, and that grants and revokes licenses to Indiana medical

  practitioners. See dkt. 1 at 5; Ind. Code §§ 25-1-9-1 et seq.

        The Executive Director of the Indiana Professional Licensing Agency

  oversees the Medical Licensing Board. Ind. Code §§ 25-0.5-3-1 et seq; 25-1-6-

  3.

        The Attorney General of Indiana investigates complaints against licensed

  medical providers and can pursue discipline from the Medical Licensing

  Board. Ind. Code § 25-1-7-2.

        The Secretary of Indiana Family and Social Services Administration is the

  director of the FSSA, which administers Medicaid in Indiana. Ind. Code § 12-

  15-1-1.

        E. Procedural history and preliminary-injunction evidence

        Plaintiffs brought this action in April 2023, alleging that S.E.A. 480's

  restrictions violate (1) the minor plaintiffs' Fourteenth Amendment equal

  protection rights; (2) the parent plaintiffs' "fundamental rights protected by due

  process" under the Fourteenth Amendment, (3) the medical-provider plaintiffs'

  First Amendment speech rights; and (4) Medicaid provisions in 42 U.S.C. §§

  18116 and 1396d(a). Dkt. 1 at 42–45. Plaintiffs have filed a motion for a




                                         SA8
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  preliminary injunction under Federal Rule of Civil Procedure 65, requesting

  that the Court "prohibit[ ] the enforcement of" S.E.A. 480. Dkt. 9.

        The parties have agreed that there should not be an evidentiary hearing.

  See dkt. 22 at 3; dkt. 56. To develop the preliminary-injunction record, the

  parties have conducted substantial discovery, filed a statement of stipulated

  facts, and designated extensive evidence. See dkt. 26; dkt. 48; dkt. 49; dkt. 51.

  In total, excluding citations and supporting exhibits, Plaintiffs have designated

  more than 100 pages of expert opinions, dkt. 26; dkt. 58, and Defendants have

  designated more than more than 300 pages of expert opinions, dkt. 48. The

  parties' complete evidentiary filings span more than 3,000 pages. Dkt. 26; dkt.

  48; dkt. 49; dkt. 58.

        Despite the volume of designated evidence and the contradicting expert

  opinions, the parties have designated only a small portion of the evidentiary

  filings in their briefs, generally relying on summaries of evidence in their

  experts' reports. See dkt. 54; dkt. 59.

           1. Plaintiffs' experts

        Plaintiffs have designated three experts, who have provided reports of

  their opinions.

        Dr. Dan Karasic, a Professor Emeritus of Psychiatry at the University of

  California, San Francisco School of Medicine, has "provided care for thousands

  of transgender patients" over thirty years. Dkt. 26-1 at 3. He's worked with

  the World Professional Association for Transgender Health ("WPATH") and co-

  authored the WPATH Standards of Care for the Health of Transsexual,




                                            SA9
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  Transgender, and Gender Nonconforming People. Id. at 4. Dr. Karasic's expert

  report details his opinions on gender identity, gender dysphoria, appropriate

  medical treatments, and harms of denying gender-affirming care. Id. at 6–18.

         Dr. Daniel Shumer is a pediatric endocrinologist, an Associated Professor

  of Pediatrics at Mott Children's Hospital at Michigan Medicine, and the Medical

  Director of the Comprehensive Gender Services Program at Michigan Medicine,

  University of Michigan. Dkt. 26-2 at 1. He has extensively researched "gender

  identity in pediatrics and the treatment of gender dysphoria" and has "been

  treating patients with gender dysphoria as a pediatric endocrinologist since

  2015." Id. at 2. Dr. Shumer's expert report addresses evidence-based

  treatments for gender dysphoria in minors, including their safety and efficacy.

  Id. at 6–23.

         Dr. Jack Turban is an Assistant Professor of Child & Adolescent

  Psychiatry at the University of California, San Francisco School of Medicine

  and the director of the Gender Psychiatry Program in the Division of Child &

  Adolescent Psychiatry. Dkt. 26-3 at 2. His expert report includes opinions

  about the effects of gender-dysphoria treatment on mental health. Id. at 4–18.

         Plaintiffs' experts have each filed supplemental reports addressing the

  opinions of Defendants' experts. Dkt. 58. Defendants have filed a motion to

  exclude many of the opinions from Plaintiffs' experts, arguing that they are

  unreliable. See dkt. 62; dkt. 63. 2


  2 Plaintiffs have orally moved to strike that motion because it violates the parties'

  stipulation regarding the admissibility of evidence discussed at the June 5, 2023
  status conference, see dkt. 56, and was filed too late in the preliminary-injunction



                                            SA10
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               2. Defendants' experts

        Defendants have designated five experts, who have provided reports

  detailing their opinions.

        Dr. James Cantor is the Director of the Toronto Sexuality Centre. Dkt.

  48-1 at 9. He is trained as a clinical psychologist and neuroscientist and has

  researched "the development of sexual orientation, gender identity,

  hypersexuality, and atypical sexualities." Id. at 8. His expert report opines on

  the strength of the medical evidence regarding gender-dysphoria treatments as

  well as the safety and effectiveness of those treatments. Id. at 11–131.

        Dr. Paul Hruz, an Associate Professor of Pediatrics in the Division of

  Pediatric Endocrinology and Diabetes at Washington University School of

  Medicine, has "participated in the care of hundreds of infants and children,

  including adolescents, with disorders of sexual development." Dkt. 48-2 at 2.

  Dr. Hruz's opinions address the use of puberty blockers and hormone therapy

  to treat endocrine disorders and gender dysphoria. Id. at 9–52.

        Dr. Dianna Kenny was a Professor of Psychology at the University of

  Sydney for thirteen years and is now "a psychodynamic psychotherapist" and

  "child, marriage, and family therapist." Dkt. 48-3 at 3-4. For the past five

  years, she has "engaged in exploratory psychotherapy with children,



  proceedings. Many of the points raised in support of Defendants' motion to exclude
  could and should have been made in their response brief. Dkt. 54. This case's
  preliminary-injunction proceedings have been carefully scheduled to ensure thorough
  and fair review before S.E.A. 480's July 1, 2023 effective date, and none of those
  orders anticipated a motion to exclude filed after preliminary-injunction briefing was
  complete. See dkt. 21; dkt. 25; dkt. 56. However, for the reasons below, it's
  unnecessary to strike Defendants' motion to exclude.



                                          SA11
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  adolescents, and their families who are struggling with gender dysphoria." Id.

  at 4. Dr. Kenney's report addresses social aspects of gender dysphoria. Id. at

  10–126.

        Dr. Daniel Weiss, a practicing endocrinologist, has provided care for

  adults and children, and has completed extensive medical research. Dkt. 48-4

  at 3. He opines on the history and safety of treatments for gender dysphoria.

  Id. at 5–30.

        Dr. Kristopher Kaliebe is an Associate Professor in the University of

  South Florida Medical School's Department of Psychiatry. Dkt. 48-5 at 3. He

  supervises a child and adolescent psychiatry clinic and treats pediatric patients

  with gender dysphoria. Id. at 7. His expert report opines on the history of

  gender dysphoria diagnoses and the strength of the evidence regarding gender-

  dysphoria treatments. Id. at 10–71.

        The Court held oral argument on June 14, 2023. Dkt. 66.

                                         II.
                          Preliminary Injunction Standard

        Injunctive relief under Federal Rule of Civil Procedure 65 is "an exercise

  of very far-reaching power, never to be indulged in except in a case clearly

  demanding it." Cassell v. Snyders, 990 F.3d 539, 544 (7th Cir. 2021). To

  obtain such extraordinary relief, the party seeking the preliminary injunction

  carries the burden of persuasion by a clear showing. See id.; Mazurek v.

  Armstrong, 520 U.S. 968, 972 (1997).

        Determining whether a plaintiff "is entitled to a preliminary injunction

  involves a multi-step inquiry." Int'l Ass'n of Fire Fighters, Local 365 v. City of E.



                                          SA12
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  Chi., 56 F.4th 437, 446 (7th Cir. 2022). "As a threshold matter, a party seeking

  a preliminary injunction must demonstrate (1) some likelihood of succeeding

  on the merits, and (2) that it has no adequate remedy at law and will suffer

  irreparable harm if preliminary relief is denied." Id. "If these threshold factors

  are met, the court proceeds to a balancing phase, where it must then consider:

  (3) the irreparable harm the non-moving party will suffer if preliminary relief is

  granted, balancing that harm against the irreparable harm to the moving party

  if relief is denied; and (4) the public interest, meaning the consequences of

  granting or denying the injunction to non-parties." Cassell, 990 F.3d at 545.

  This "involves a 'sliding scale' approach: the more likely the plaintiff is to win

  on the merits, the less the balance of harms needs to weigh in his favor, and

  vice versa." Mays v. Dart, 974 F.3d 810, 818 (7th Cir. 2020). "In the final

  analysis, the district court equitably weighs these factors together, seeking at

  all times to minimize the costs of being mistaken." Cassell, 990 F.3d at 545.

                                         III.
                                       Analysis

        A. Standing to challenge S.E.A. 480's prohibition on gender
           reassignment surgery

        Gender reassignment surgery is one of the "gender transition procedures"

  that S.E.A. 480 prohibits for minors. S.E.A. 480 §§ 5(a); 13(a). The statute

  defines "gender reassignment surgery" as "any medical or surgical service that

  seeks to surgically alter or remove healthy physical or anatomical

  characteristics or features that are typical for the individual's sex, in order to

  instill or create physiological or anatomical characteristics that resemble a sex




                                         SA13
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  different from the individual's sex . . . knowingly performed for the purpose of

  assisting an individual with a gender transition." Id. § 2.

        The parties have stipulated that "[n]o Indiana provider performs gender-

  transition surgery on persons under the age of 18." Dkt. 51 at 4. Defendants

  therefore argue that Plaintiffs lack standing to seek a preliminary injunction

  against S.E.A. 480's prohibition on gender-transition surgery. Dkt. 54 at 30.

  Plaintiffs contend that they have standing because they are challenging the

  prohibition on "'gender transition procedures' generally." Dkt. 59 at 22.

        Standing is a constitutional doctrine "rooted in the traditional

  understanding of a case or controversy" and "ensure[s] that federal courts do

  not exceed their authority as it has been traditionally understood." Spokeo,

  Inc. v. Robins, 578 U.S. 330, 337–38 (2016); U.S. CONST. Art. III, § 2. To have

  standing, a plaintiff "must have (1) suffered an injury in fact, (2) that is fairly

  traceable to the challenged conduct of the defendant, and (3) that is likely to be

  redressed by a favorable judicial decision." Spokeo, 578 U.S. at 338. Here,

  Plaintiffs must have standing as to each piece of their claim. See Johnson v.

  U.S. Office of Pers. Mgmt., 783 F.3d 655, 661 (7th Cir. 2015) ("The fact that a

  plaintiff has suffered an injury that is traceable to one kind of conduct does not

  grant that plaintiff standing to challenge other, even related, conduct; standing

  is not dispensed in gross."); Mueller v. Raemisch, 740 F.3d 1128, 1132–33 (7th

  Cir. 2014) (holding that the plaintiffs had standing to challenge the

  requirement to continually update sex-offender registry information, but not to

  challenge the prohibition on changing their names, since they had no intention




                                          SA14
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  of doing so). "To have standing for prospective injunctive relief, a plaintiff must

  face a 'real and immediate' threat of future injury as opposed to a threat that is

  merely 'conjectural or hypothetical.'" Simic v. City of Chicago, 851 F.3d 734,

  738 (7th Cir. 2017); see Speech First, Inc. v. Killeen, 968 F.3d 628, 638 (7th Cir.

  2020) (recognizing a plaintiff's "burden to demonstrate standing in the context

  of a preliminary injunction motion"). Put simply, a preliminary injunction can

  be appropriate only if there are "continuing, present adverse effects." Simic,

  851 F.3d at 738.

        Here, the stipulated facts show that no minor could receive gender-

  transition surgery from a physician or other practitioner in Indiana, regardless

  of S.E.A. 480. Dkt. 51 at 4. Plaintiffs therefore cannot show that S.E.A. 480's

  prohibition on gender-transition surgery would cause any minor in Indiana an

  injury that is likely to be redressed by a favorable judicial decision. Plaintiffs

  therefore lack standing to seek a preliminary injunction against S.E.A. 480's

  prohibition on gender-transition surgery for minors. See Speech First, 968

  F.3d at 644.

        B. Fourteenth Amendment equal protection claims

        "The Fourteenth Amendment's Equal Protection Clause guarantees that

  'No State shall . . . deny to any person within its jurisdiction the equal

  protection of the laws.'" Hope v. Comm'r of Ind. Dep't of Corr., 9 F.4th 513, 528–

  29 (7th Cir. 2021) (quoting U.S. CONST. amend. XIV, § 1). This "is essentially a

  direction that all persons similarly situated should be treated alike." Whitaker

  v. Kenosha Unified Sch. Dist. No. 1, 858 F.3d 1034, 1050 (7th Cir. 2017).




                                         SA15
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  Plaintiffs argue that S.E.A. 480 "violates the equal protection rights of the

  plaintiff youth" because it impermissibly "discriminates on the basis of both sex

  and transgender status." Dkt. 27 at 26–27. Defendants respond that S.E.A.

  480 instead makes reasonable classifications "based on age, procedure, and

  condition—not sex or transgender status." Dkt. 54 at 40.

           1. Sex-based classifications and heightened scrutiny

        "Generally, state action is presumed to be lawful [under the Equal

  Protection Clause] and will be upheld if the classification drawn by the statute

  is rationally related to a legitimate state interest." Whitaker, 858 F.3d at 1050.

  That "rational basis test, however, does not apply when a classification is based

  upon sex." Id. Sex-based classifications are instead "subject to heightened

  scrutiny," requiring "the state to demonstrate that its proffered justification is

  'exceedingly persuasive.'" Id.; accord Sessions v. Morales–Santana, 582 U.S.

  47, 59 (2017) (recognizing "the heightened scrutiny that now attends 'all

  gender-based classifications'"). "This requires the state to show that the

  'classification serves important governmental objectives and that the

  discriminatory means employed are substantially related to the achievement of

  those objectives.'" Whitaker, 858 F.3d at 1050 (quoting United States v.

  Virginia, 518 U.S. 515, 524 (1996)).

        Plaintiffs argue that heightened scrutiny applies here because, under

  S.E.A. 480, sex is the determining factor as to whether a treatment is

  prohibited. Dkt. 27 at 27–30. Defendants respond that S.E.A. 480 draws




                                         SA16
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  distinctions based on other factors, such as medical condition and procedure,

  rather than based on sex. Dkt. 54 at 40.

         S.E.A. 480 defines "sex" as "the biological state of being male or female,

  based on the individual's sex organs, chromosomes, and endogenous hormone

  profiles." S.E.A. 480 § 12. And it prohibits "a physician or other practitioner"

  from "knowingly provid[ing] gender transition procedures to a minor." Id. §

  13(a). "[G]ender transition" is defined as "the process in which an individual

  shifts from identifying with and living as a gender that corresponds to his or

  her sex to identifying with and living as a gender different from his or her sex."

  Id. § 3. And a "gender transition procedure" is defined as:

                any medical or surgical service . . . that seeks to:
                (1) alter or remove physical or anatomical
                characteristics or features that are typical for the
                individual's sex; or
                (2) instill or create physiological or anatomical
                characteristics that resemble a sex different from the
                individual's sex, including medical services that provide
                puberty blocking drugs, gender transition hormone
                therapy, or genital gender reassignment surgery or
                nongenital gender reassignment surgery knowingly
                performed for the purpose of assisting an individual
                with a gender transition.

  Id. § 5(a).

         Sex-based classifications are therefore central to S.E.A. 480's

  prohibitions. Section 5(a)(1), for example, prohibits procedures seeking to

  "alter or remove physical or anatomical characteristics or features that are

  typical for the individual's sex." But it does not prohibit a person from seeking

  to "alter or remove" a characteristic or feature typical of the opposite sex, under



                                         SA17
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  S.E.A. 480's definition of sex. Similarly, section 5(a)(2) prohibits the creation of

  physiological or anatomical characteristics or features "that resemble a sex

  different from the individual's sex." But it does not prohibit a medical provider

  from creating physiological or anatomical characteristics or features that

  resemble that individual's sex. In other words, the statute allows physicians

  and other practitioners to "instill or create" characteristics "resembl[ing]"

  female anatomical characteristics for females but not for males, and male

  anatomical characteristics for males but not for females. It's therefore

  impossible for a medical provider to know whether a treatment is prohibited

  without knowing the patient's sex. S.E.A. 480's prohibitions therefore "cannot

  be stated without referencing sex." Whitaker, 858 F.3d at 1051.

        Despite that statutory language, Defendants argue that S.E.A. 480's

  classifications are instead "based on age, procedure, and medical condition"

  and "encompass both sexes and all gender identities." Dkt. 54 at 40.

  Defendants therefore contend that because S.E.A. 480 prohibits all gender-

  transition procedures, for both males and females, there's no sex-based

  classification. See id. at 40–41 (relying on Geduldig v. Aiello, 417 U.S. 484

  (1974)). But Geduldig was about pregnancy, which doesn't always trigger

  heightened scrutiny since it's an "objectively identifiable physical condition"

  and not necessarily a proxy for sex, even though "only women can become

  pregnant." 417 U.S. at 496 n.20. S.E.A. 480's prohibitions, by contrast, do

  not prohibit certain medical procedures in all circumstances, but only when

  used for gender transition, which in turn requires sex-based classifications.




                                         SA18
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  Indeed, under S.E.A. 480's plain language, a medical provider can't know

  whether a gender transition is involved without knowing the patient's sex and

  the gender associated with the goal of the treatment. S.E.A. 480 §§ 3, 5(a).

        In short, without sex-based classifications, it would be impossible for

  S.E.A. 480 to define whether a puberty-blocking or hormone treatment involved

  transition from one's sex (prohibited) or was in accordance with one's sex

  (permitted). That's certainly why S.E.A. 480's plain text defines "sex," id. § 12;

  defines "gender transition" in sex-based terms, id. § 3; and then phrases its

  prohibitions in terms that repeatedly rely on those definitions, id. §§ 5(a), 13(a)

  (prohibitions centering on what is "typical for the individual's sex" and

  "characteristics that resemble a sex different from the individual's sex"). At

  bottom, sex-based classifications are not just present in S.E.A. 480's

  prohibitions; they're determinative.

        Defendants further argue that the rationale for heightened scrutiny

  doesn't apply to S.E.A. 480. Dkt. 54 at 31–33 (arguing that when "medical

  procedures take account of basic, immutable biological differences" between

  males and females, that does not trigger heightened scrutiny and does not rely

  on "stereotypes"). The Supreme Court has indeed applied heightened scrutiny

  while recognizing that "[p]hysical differences between men and women are

  enduring" and that "[t]he two sexes are not fungible." United States v. Virginia,

  518 U.S. 515, 533 (1996). It has therefore explained that the purpose of

  heightened scrutiny is not to "make sex a proscribed classification" but to

  ensure that sex-based classifications do not "create or perpetuate the legal,




                                         SA19
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  social, and economic inferiority of women" or men. Id.; Sessions, 582 U.S. at

  72.

        While S.E.A. 480 prohibits both male and female minors from using

  puberty blockers and cross-sex hormone therapy for gender transition, it

  nonetheless draws sex-based classifications under current Seventh Circuit

  precedent. See Whitaker, 858 F.3d at 1050. For the reasons argued by

  Defendants, perhaps the Seventh Circuit or the Supreme Court will hold that a

  legislative sex-based classification like that made in S.E.A. 480 is presumed

  lawful and subject to only rational basis review. But Whitaker holds that

  rational basis review "does not apply when a classification is based upon sex."

  858 F.3d at 1050. Instead, a sex-based classification triggers heightened

  scrutiny that requires the state to show that the "classification serves

  important governmental objectives and that the discriminatory means

  employed are substantially related to the achievement of those objectives." Id.

        The Eighth Circuit reached the same conclusion in a case involving a

  substantially similar statute. Brandt v. Rutledge, 47 F.4th 661 (8th Cir. 2022).

  There, the court held that heightened scrutiny applied to the challenged

  Arkansas statute because "[t]he biological sex of the minor patient is the basis

  on which the law distinguishes between those who may receive certain types of

  medical care and those who may not." Id. at 670. The same is true here.




                                        SA20
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  Because S.E.A. 480's prohibitions are "inherently based upon" sex

  classifications, "heightened review applies." Whitaker, 858 F.3d at 1051. 3

            2. Heightened scrutiny applied to S.E.A. 480

        "Successful defense of legislation that differentiates on the basis of

  gender . . . requires an 'exceedingly persuasive justification." Sessions v.

  Morales–Santana, 582 U.S. 47, 58 (2017). "For a gender-based classification to

  withstand such scrutiny, it must 'serve important governmental objectives,'

  and 'the discriminatory means employed must be substantially related to the

  achievement of those objectives." Nevada Dep't of Human Res. v. Hibbs, 538

  U.S. 721, 728–29 (2003) (quoting Virginia, 518 U.S. at 533). In other words,

  there must be a "close means–end fit." Sessions, 582 U.S. at 68.

        Plaintiffs argue that S.E.A. 480 does not survive heightened scrutiny

  because there's no important government interest to justify prohibiting "safe,

  effective, and medically necessary treatment for the health and well-being of

  adolescents suffering from gender dysphoria." Dkt. 27 at 30. Defendants

  contend that the prohibited treatments are unsafe and their effectiveness is

  unproven, so S.E.A. 480 is justified by the State's interests in protecting the

  wellbeing of minors and regulating the medical profession. Dkt. 54 at 33–40.

        Certainly, the proffered state interests are legitimate. "[I]t is clear that a

  legislature may pass valid laws to protect children." Packingham v. North

  Carolina, 582 U.S. 98, 106 (2017). And it's similarly "clear [that] the State has


  3 Because S.E.A. 480's sex-based classification triggers heightened scrutiny, the Court

  does not address what level of scrutiny a transgender-based classification alone might
  warrant.



                                          SA21
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  a significant role to play in regulating the medical profession." Gonzales v.

  Carhart, 550 U.S. 124, 157 (2007). But heightened scrutiny requires a "close

  means–end fit," so it's not enough for the State's interests to justify some

  regulation of gender transition procedures for minors. Instead, the State's

  interests must justify S.E.A. 480's prohibition of gender transition procedures

  for minors. Sessions, 582 U.S. at 68; cf. Packingham, 582 U.S. at 106

  (explaining, in the First Amendment context, that "the assertion of a valid

  governmental interest cannot, in every context, be insulated from all

  constitutional protections").

        S.E.A. 480's scope is broad. As Defendants acknowledge, the statute

  "generally prohibits licensed medical providers from knowingly providing, or

  aiding and abetting another practitioner in providing, gender transition

  procedures to a minor." Dkt. 54 at 27–28. Indiana thus opted to ban—rather

  than otherwise regulate—gender transition procedures for minors. Defendants

  argue that this ban is justified because gender transition procedures "subject

  vulnerable minors to unproven, harmful, and irreversible procedures." Dkt. 54

  at 33. In support, they have designated medical evidence supported by expert

  reports. See generally dkt. 48.

        There is thus designated evidence in the record that puberty blockers

  carry risks of increased brain pressure and reductions in bone density and

  "may cause hot flashes, weight gain, fatigue and mood alterations." Dkt. 48-4

  at 20 (Weiss decl.); dkt. 48-2 at 25 (Hruz decl.). And while puberty blockers are

  prescribed when puberty starts far too soon, high-quality medical research on




                                        SA22
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  their use to delay puberty past a typical age is exceptionally limited. See dkt.

  48-2 at 46 (Hruz decl.); dkt. 48-4 at 21–22 (Weiss decl.). Indeed, the

  consensus from all sides is that more research is needed to explore these risks.

  See dkt. 48-4 at 21–23 (Weiss decl.) (identifying statements from healthcare

  organizations including The Endocrine Society); dkt. 48-1 (Cantor decl.)

  (summarizing WPATH's calls for further research).

        There's also evidence that the cross-sex hormone therapies prohibited by

  S.E.A. 480 have risks as well. Those include fertility impairment, lower bone

  density, disfiguring acne, high blood pressure, weight gain, abnormal glucose

  tolerance, breast cancer, liver disease, thrombosis (blood clots in veins or

  arteries), and cardiovascular disease. Dkt. 48-2 at 44–46 (Hruz decl.).

  Hormone therapy is used to treat medical conditions other than gender

  dysphoria, but—similar to puberty blockers used for gender transition—the

  "long term effect[s]" of using of cross-sex hormones for gender transition are

  "currently unknown." Id. at 44.

        This designated evidence thus provides support for Defendants' view that

  the safety and effectiveness of puberty blockers and hormone therapy is

  uncertain and unsettled. It also supports Defendants' position that the State

  has good reasons for regulating gender transition procedures for minors.

  Nevertheless, Plaintiffs argue that these "concerns are based on

  mischaracterizations and distortions about the diagnosis and treatment of

  gender dysphoria." Dkt. 59 at 2. Maybe Plaintiffs will be able to prove that's

  true at a trial where Defendants' experts are subject to cross-examination on




                                        SA23
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  the strength of their opinions. See Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th

  Cir. 2012) (explaining that admissible expert evidence "is to be tested . . . with

  the familiar tools of 'vigorous cross-examination [and] presentation of contrary

  evidence'"). But based on the paper record available here, the Court finds that

  Defendants have designated some evidence in support of their position.

        Even so, heightened scrutiny requires more—the regulation must have

  an "exceedingly persuasive justification" and a "close means–end fit." Sessions,

  582 U.S. at 59, 68. In other words, the State's specific "means" (S.E.A. 480's

  broad ban) must fit its "ends" (protecting minors and regulating the medical

  profession). Sessions, 582 U.S. at 68; Virginia, 518 U.S. at 531 ("Parties who

  seek to defend gender-based government action must demonstrate an

  'exceedingly persuasive justification' for that action." (emphasis added)).

        So, for example, when the Supreme Court considered the male-only

  education offered at the Virginia Military Institute, it recognized that sex-based

  classifications can serve legitimate interests yet not survive heightened

  scrutiny. Virginia, 518 U.S. at 535–36. Therefore, in that case, while "[s]ingle-

  sex education affords pedagogical benefits to at least some students," and

  "diversity among public educational institutions can serve the public good,"

  those "benign justifications" were not enough to justify VMI's "categorical

  exclusions." Id.

        Here, S.E.A. 480 categorically bans the use of puberty blockers and

  hormone therapy for gender transition for minors. And Plaintiffs have

  designated evidence of risks to minors' health and wellbeing from gender




                                         SA24
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  dysphoria if those treatments can no longer be provided to minors—prolonging

  of their dysphoria, and causing additional distress and health risks, such as

  depression, posttraumatic stress disorder, and suicidality. See dkt. 26-1 at

  16–17 (Karasic decl.). 4 Those treatments could no longer be used if S.E.A. 480

  goes into effect. So, while the State has identified legitimate reasons for

  regulation in this area, the designated evidence does not demonstrate, at least

  at this stage, that the extent of its regulation was closely tailored to uphold

  those interests. Plaintiffs therefore have shown some likelihood of success on

  the merits of their equal protection claim. See Mays v. Dart, 974 F.3d 810, 818

  (7th Cir. 2020).

        Nor does "the normal rule that courts defer to the judgments of

  legislatures in areas fraught with medical and scientific uncertainties" settle

  the issue here. Dobbs v. Jackson Women's Health Org., 142 S. Ct. 2228, 2268

  (2022). Defendants argue that S.E.A. 480 fits comfortably within this vast zone

  of legislative discretion, but they have not cited any authority making that


  4 In their motion to exclude expert testimony, Defendants argue that Dr. Karasic's

  opinion is unreliable and therefore inadmissible. Dkt. 62; dkt. 63 at 26–27. But Dr.
  Karasic bases his opinion on his experience "provid[ing] care for thousands of
  transgender patients," including "patients over the years who were unable to access
  gender-affirming care when it was clinically indicated." Dkt. 26-1 at 3, 17. That
  includes minors, "many" of whom then had "increased depression, anxiety, suicidal
  ideation and self-harm, increased substance use, and a deterioration in school
  performance." Id. at 17. Defendants argue that this experience is "unspecified" and
  unsupported, dkt. 63 at 26–27, but it is enough to pass Daubert gatekeeping. See
  Walker v. Soo Line R.R. Co., 208 F.3d 581, 586–87 (7th Cir. 2000) (explaining that
  "experience in treating patients" can qualify a medical expert and "[m]edical
  professionals reasonably may be expected to rely on self-reported patient histories").
  Other than this ruling, Defendant's motion to exclude expert testimony is DENIED
  without prejudice as unnecessary at this stage because this order does not rely on
  the challenged opinions in concluding that Plaintiffs have carried their preliminary-
  injunction burden. Dkt. [62].



                                           SA25
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  principle controlling here, when heightened scrutiny applies to an equal

  protection claim. See id. at 2245–46 (Dobbs explaining that it did not involve

  "heightened constitutional scrutiny" but instead "the same standard of review"

  that applied to "other health and safety measures").

        Nevertheless, Defendants argue that "the State has no less restrictive

  means" than S.E.A. 480 "to advance its interests." Dkt. 54 at 36. They reason

  that there's "no test for gender dysphoria and no reliable way to know whether

  it will resolve without lifechanging medical interventions." Id.

        Defendants don't explain, however, why uncertainty about a gender-

  dysphoria diagnosis or about how long gender dysphoria may persist leaves the

  State without more tailored alternatives to S.E.A. 480. At the hearing on

  Plaintiffs' motion, Defendants emphasized that regardless of any expert

  testimony, the risks and uncertainties identified in systematic reviews

  conducted by certain European countries justified S.E.A. 480's ban on gender

  transition procedures for minors. But reliance on those reviews also does not

  achieve the "close means–end fit" required.

        Most detrimental to Defendants' position is that no European country

  that has conducted a systematic review responded with a ban on the use of

  puberty blockers and cross-sex hormone therapy as S.E.A. 480 would.

  Instead, Defendants' designated evidence is that (1) the English National

  Health Service has proposed that puberty blockers be used only "in the context

  of a formal research protocol," (2) Finland's health service has restricted

  puberty blockers and cross-sex hormone therapies to when gender dysphoria is




                                        SA26
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  severe and other psychiatric symptoms have ceased, (3) the "leading Swedish

  pediatric gender clinic" has limited puberty blockers and cross-sex hormones to

  those sixteen and older in monitored clinical trials 5, (4) the Académie Nationale

  de Médecine of France has advised providers "to extend as much as possible

  the psychological support stage" before turning to hormone treatments, and (5)

  the "Dutch Protocol" developed in the Netherlands involves age restrictions on

  certain treatments and requires "resolution of mental health issues before any

  transition." Dkt. 48-1 at 16–21, 110–11 (Cantor decl.).

        In short, these European countries all chose less-restrictive means of

  regulation. In Defendants' view, however, the data from the systematic reviews

  gives the State unfettered discretion to choose how to regulate gender

  transition procedures for minors—up to and including a broad prohibition.

  But that does not take into account the "close means–end fit" that heightened

  scrutiny requires of sex-based classifications. Sessions, 582 U.S. at 59, 68.

        Plaintiffs therefore have shown some likelihood of success on their claim

  that S.E.A. 480's prohibitions on puberty blockers and hormone therapy for

  minors violate the Equal Protection Clause. See id. at 68.

        C. First Amendment speech claims

        In addition to its treatment prohibitions, S.E.A. 480 prohibits physicians

  and other medical practitioners from "aid[ing] or abet[ting] another physician or

  practitioner in the provision of" prohibited gender transition procedures to a



  5 The Swedish National Board of Health, however, has not imposed those restrictions

  but "recommends restraint." Dkt. 48-1 at 20.



                                         SA27
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  minor. S.E.A. 480 § 13(b). It's uncontested that § 13(b) would prohibit any

  action that aids or abets a gender transition procedure. See dkt. 54 at 52. It

  therefore sweeps up both speech—such as medical referrals and discussing a

  shared patient's care—and conduct—such as driving a minor to receive

  prohibited care or assisting a surgery. See id.

        Plaintiffs Dr. Bast and Mosaic therefore challenge this provision as

  applied to its regulation of speech, arguing that it violates medical providers'

  First Amendment free speech rights because it prohibits making referrals for or

  providing information about gender transition procedures. Dkt. 27 at 49; dkt.

  59 at 35. Defendants respond that § 13(b) regulates speech only incidentally

  and is valid as part of a broader regulatory statute. Dkt. 54 at 52–53.

        It is "true that the First Amendment does not prevent restrictions

  directed at commerce or conduct from imposing incidental burdens on speech."

  Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011). But burdens on speech

  are "incidental" only when they flow indirectly from the core purpose of the

  regulation—like an employment anti-discrimination ordinance requiring the

  removal of a "White Applicants Only" sign, or an ordinance against outdoor

  fires preventing flag burning. Id.; see also Morgan v. White, 964 F.3d 649, 652

  (7th Cir. 2020) (holding that it's an incidental burden on speech when a

  COVID-related social distancing order makes it harder for a campaign to

  "round up signatures"). Here, the speech that section 13(b) would prohibit

  would itself be "aiding and abetting," rather than being incidental to separate,

  prohibited conduct. See Expressions Hair Design v. Schneiderman, 581 U.S.




                                         SA28
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  37, 47 (2017) (holding that a ban on surcharges for using a credit card

  regulated speech directly rather than incidentally because it dictated how

  stores communicated prices); Hurley v. Irish–American Gay, Lesbian and

  Bisexual Grp. of Boston, 515 U.S. 557 (1995) (holding that a ban on

  discrimination based on sexual orientation violated the First Amendment as

  applied to a parade). 6

        S.E.A. 480 § 13(b) therefore appears to burden speech "on its face and in

  its practical operation" because "aiding and abetting" directly prohibits referrals

  and collaboration among medical providers. Sorrell, 564 U.S. at 567.

  Moreover, the regulation triggers heightened scrutiny because it's "directed at

  certain content and is aimed at particular speakers." Id. at 567, 571. Section

  13(b) singles out medical providers and only one category of medical

  treatment—gender transition procedures.

        Plaintiffs therefore have some likelihood of success on their First

  Amendment challenge to S.E.A. 480's aiding and abetting provision, as applied

  to the speech they have shown to be regulated by that provision. Cf. Brandt v.

  Rutledge, 551 F. Supp. 3d 882, 892 (E.D. Ark. 2021) (finding likelihood of

  success on a First Amendment challenge to a ban on referrals as part of a

  similar statute), aff'd, 471 F.4th 661, 671–72 (8th Cir. 2022). 7


  6 Defendants also argue that S.E.A. 480 § 13(b) is permissible as "an integral part . . .

  of a valid . . . statute." Dkt. 54 at 52. But for the reasons explained above, Plaintiffs
  have some likelihood of success on challenges to other portions of S.E.A. 480 as well.

  7 Because Plaintiffs have shown some likelihood of success for these reasons as to the

  portions of S.E.A. 480 that they have standing to challenge, the Court does not
  address Plaintiffs' arguments that S.E.A. 480 (1) denies parents the fundamental right



                                            SA29
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         D. Remaining preliminary injunction factors

            1. Irreparable harm

         Plaintiffs must also show that they would suffer irreparable harm

  without an injunction. See Cassell v. Snyders, 990 F.3d 539, 545 (7th Cir.

  2021). "Harm is irreparable if legal remedies are inadequate to cure it." Life

  Spine, Inc. v. Aegis Spine, Inc., 8 F.4th 531, 545 (7th Cir. 2021). "Inadequate

  'does not mean wholly ineffectual; rather, the remedy must be seriously

  deficient as compared to the harm suffered.'" Id.

         Minor Plaintiffs argue that they would suffer irreparable harm if S.E.A.

  480 took effect because they would have to stop receiving puberty blockers or

  hormone therapy to treat the severe condition of gender dysphoria. Dkt. 27 at

  52–53. Defendants respond that psychotherapy is available as an alternative

  treatment. Dkt. 54 at 54–55.

         Medical harms, including to mental health, can constitute irreparable

  harm, Whitaker v. Kenosha Unified Sch. Dist. No. 1, 858 F.3d 1034, 1044–46

  (7th Cir. 2017), and Defendants do not contest that gender dysphoria is a

  psychiatric diagnosis that requires "clinically significant distress" to diagnose,

  dkt. 54 at 14. Accord Brandt, 551 F. Supp. 3d at 892 (finding irreparable harm

  on a similar record), aff'd, 471 F.4th at 671–72. And—again—there's evidence

  that puberty blockers and cross-sex hormone therapy reduces distress for

  some minors diagnosed with gender dysphoria. See dkt. 26-1 at 3, 16–17



  to dictate their children's medical care, (2) violates federal Medicaid law, and (3)
  violates the Affordable Care Act. Dkt. 27 at 33–49.



                                            SA30
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  (Karasic decl.); dkt. 48-12 at 18, 20 (B. Clawson Dep.) (explaining the effects of

  treatment on K.C.); dkt. 48-14 at 13–14 (Morris Dep.) (same for A.M.); dkt. 48-

  15 at 19 (R. Welch Dep.) (same for M.W.); dkt. 48-17 at 20 (Rivera Dep.) (same

  for M.R.). The risk of irreparable harm therefore supports a preliminary

  injunction. See Whitaker, 858 F.3d at 1045 (The irreparable harm requirement

  does not "require that the harm be certain to occur before a court may grant

  relief on the merits. Rather, harm is considered irreparable if it cannot be

  prevented or fully rectified by the final judgment after trial.").

        Plaintiffs have also satisfied the irreparable-harm requirement on their

  First Amendment speech claim. See Christian Legal Soc'y v. Walker, 453 F.3d

  853, 867 (7th Cir. 2006) ("[V]iolations of First Amendment rights are presumed

  to constitute irreparable injuries.").

           2. Balancing

        Because Plaintiffs have some likelihood of success on the merits of

  constitutional claims, a preliminary injunction is in the public interest. See

  Whole Woman's Health All. v. Hill, 937 F.3d 864, 875 (7th Cir. 2019) ("Enforcing

  a constitutional right is in the public interest."). While the State has a strong

  interest in enforcing democratically enacted laws, that interest decreases as

  Plaintiffs' likelihood of success on the merits of their constitutional claims

  increases. See Higher Soc'y of Ind. v. Tippecanoe Cty., 858 F.3d 1113, 1116

  (7th Cir. 2017). And for the reasons above, Plaintiffs risk suffering irreparable

  harm absent an injunction. As a result, the balance of harms favors granting a

  preliminary injunction against the portions of S.E.A. 480 that Plaintiffs have




                                           SA31
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  some likelihood of success in challenging. See Mays v. Dart, 974 F.3d 810, 818

  (7th Cir. 2020).

           3. Bond Requirement

        Federal Rule of Civil Procedure 65(c)'s bond requirement is waived. See

  BankDirect Cap. Fin., LLC v. Cap. Premium Fin., Inc., 912 F.3d 1054, 1058 (7th

  Cir. 2019). "There is no reason to require a bond" in a case in which "the court

  is satisfied that there's no danger that the opposing party will incur any

  damages from the injunction." Habitat Educ. Ctr. v. U.S. Forest Serv., 607 F.3d

  453, 458 (7th Cir. 2010). Here, Defendants have not argued a likelihood of

  money damages or requested a bond. Any party may request an injunction

  bond while this case remains pending.

        E. Scope of the injunction

        Plaintiffs are therefore entitled to a partial injunction preventing the

  enforcement of S.E.A. 480's prohibitions on:

        (1) gender transition procedures, except gender reassignment surgery,

           S.E.A. 480 § 13(a); and

        (2) "aid[ing] or abet[ting] another physician or practitioner in the

            provision of" prohibited gender transition procedures to a minor, as

            applied to speech, id. § 13(b). The injunction will run against the

            regulated speech Plaintiffs have identified—providing patients with

            information, making referrals to other medical providers, and

            providing medical records or other information to other medical

            providers.




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         Defendants briefly argue that any injunction must be limited to the

  named plaintiffs. Dkt. 54 at 55–56. They rely on Doe v. Rokita, which

  identified "a problem with the remedy" when a court provides final relief

  enjoining a statute's application to non-parties without certifying a class

  action. Id. (citing 54 F.4th 518, 519 (7th Cir. 2022)). Doe, however, does not

  apply here because Plaintiffs seek a preliminary injunction while their motion

  for class certification remains pending. See dkt. 10; Kartman v. State Farm

  Mut. Auto. Ins. Co., 634 F.3d 883, 886 (7th Cir. 2011). Therefore, for the

  reasons in the Court's order regarding a stay of class-certification briefing, the

  Court can use its equitable power to issue an injunction prohibiting

  Defendants from enforcing the enjoined portions of S.E.A. 480 against any

  provider, as to any minor. See dkt. 41 ("[A] court may issue a classwide

  preliminary injunction in a putative class action suit prior to a ruling on the

  class certification motion . . . ."). 8




  8 Indeed, briefing on class-certification was stayed at Defendants' request.    And
  Defendants' submissions in support of that request did not mention their view that a
  stay would later preclude preliminary relief beyond the named plaintiffs. Dkt. 29.
  Defendants' counsel do not explain why it's appropriate to file such a motion to stay
  and then raise their view of the scope of available relief for the first time more than a
  month later in their preliminary-injunction response brief. See dkt. 54.




                                            SA33
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                                          IV.
                                       Conclusion

        Plaintiffs' motion for a preliminary injunction is GRANTED in part. Dkt.

  [9]. 9 A separate injunction shall issue contemporaneously with this order. See

  Fed. R. Civ. P. 65(d).

        The assigned magistrate judge is asked to enter a case management plan

  for resolving this case. The Court will then set a trial date.

  SO ORDERED.

  Date: 6/16/2023




  Distribution:

  All electronically registered counsel




  9 The motion for leave to file brief as amici curiae of Arkansas, Alabama, and 14 other

  states is GRANTED. Dkt. [53].



                                           SA34
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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 K. C., et al.                                  )
                                                )
                           Plaintiffs,          )
                                                )
                      v.                        )    No. 1:23-cv-00595-JPH-KMB
                                                )
 THE INDIVIDUAL MEMBERS OF THE                  )
 MEDICAL LICENSING BOARD OF                     )
 INDIANA in their official capacities, et al.   )
                                                )
                           Defendants.          )

                             PRELIMINARY INJUNCTION

        Defendants, their officers, agents, employees, servants, attorneys, and all

 persons in active concert or participation with them, ARE HEREBY ENJOINED

 AND RESTRAINED, pending further order of the Court, from enforcing, against

 any physician or practitioner and relating to any patient:

        (1) S.E.A. 480's prohibitions on gender transition procedures, except the

           prohibition on gender reassignment surgery. S.E.A. 480 § 13(a) (to be

           codified at Ind. Code § 25-1-22-13(a)).

        (2) S.E.A. 480's prohibition on "aid[ing] or abet[ting] another physician or

            practitioner in the provision of gender transition procedures to a

            minor" as applied to providing patients with information, making

            referrals to other medical providers, and providing medical records or

            other information to medical providers. S.E.A. 480 § 13(b) (to be

            codified at Ind. Code § 25-1-22-13(b)).

 SO ORDERED.




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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 K. C. et al.                                   )
                                                )
                           Plaintiffs,          )
                                                )
                      v.                        )   No. 1:23-cv-00595-JPH-KMB
                                                )
 THE INDIVIDUAL MEMBERS OF THE                  )
 MEDICAL LICENSING BOARD OF                     )
 INDIANA in their official capacities, et al.   )
                                                )
                           Defendants.          )

       ORDER REGARDING STAY OF CLASS CERTIFICATION BRIEFING

        In conjunction with their motion for a preliminary injunction, Plaintiffs

 have filed a motion to certify three classes and two subclasses under Federal

 Rule of Civil Procedure 23(b)(2). Dkt. 10; dkt. 28. Defendants have filed a

 motion to stay briefing on that motion until the Court rules on Plaintiffs'

 motion for a preliminary injunction. Dkt. 29. Plaintiffs oppose the motion.

 Dkt. 32.

        Neither side addresses whether class certification under Federal Rule of

 Civil Procedure 23(b)(2) is the appropriate procedure for Plaintiffs to obtain the

 scope of preliminary injunctive relief they request. See Kartman v. State Farm

 Mut. Auto Ins. Co., 634 F.3d 883 886 (7th Cir. 2011) ("[C]ertification of a class

 under Rule 23(b)(2) is permissible only when class plaintiffs seek 'final

 injunctive relief.'"). Put differently, the parties don't address why the Court

 would not be able to use its equitable power to issue appropriately tailored

 preliminary injunctive relief, should the Court conclude that Plaintiffs have




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 shown they are entitled to preliminary injunctive relief. Relatedly, Plaintiffs

 have not identified any Seventh Circuit authority explaining why Federal Rule

 of Civil Procedure 23(b)(2) provides the appropriate procedure for applying a

 preliminary injunction to nonparties. See dkt. 28; dkt. 30; but see Meyer v.

 Portfolio Recovery Assocs., 707 F.3d 1036, 1043 (9th Cir. 2012).

        Indeed, in cases challenging similar laws in other states, plaintiffs have

 not sought class certification. See Brandt v. Griffin, No. 4:21-cv-450-JM, dkt.

 12 at 61–62 (E.D. Ark.); Eknes–Tucker v. Ivey, No. 2:22-cv-184-LCB-CWB, dkt.

 8 at 50 (M.D. Ala.); L.W. v. Skrmetti, No. 3:23-cv-376, dkt. 33 at 25 (M.D. Tenn);

 Poe v. Drummond, No. 4:23-cv-177, dkt. 6 at 25 (N.D. Okla.). In those cases,

 two district courts have issued preliminary injunctions that applied beyond the

 named plaintiffs, without addressing class certification. Brandt, No. 4:21-cv-

 450-JM, 551 F.Supp. 3d 882, 894 (E.D. Ark. Aug. 2, 2021); Eknes–Tucker, No.

 2:22-cv-184-LCB-CWB, 603 F.Supp.3d 1131, 1151 (M.D. Ala. May 13, 2022)

 (appeal pending). The Eight Circuit affirmed the preliminary injunction in

 Brandt, holding that the "district court did not abuse its discretion by granting

 a facial injunction" because Arkansas "failed to offer a more narrowly tailored

 injunction that would remedy Plaintiffs' injuries." Brandt v. Rutledge, 47 F.4th

 661, 672 (8th Cir. 2022). Plaintiffs have not explained why a different

 procedure—Rule 23 class certification—would be appropriate here, should the

 Court conclude that Plaintiffs have shown they are entitled to preliminary

 injunctive relief. See dkt. 28; dkt. 30.




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       Indeed, the Seventh Circuit has indicated that a district court's equitable

 powers can extend beyond the named parties, in an appropriate case. See

 Mulholland v. Marion Cnty. Elec. Bd., 746 F.3d 811, 819 (7th Cir. 2014) ("Facial

 unconstitutionality as to one means facial unconstitutionality as to all,

 regardless of the fact that the injunctive portion of the judgment directly

 adjudicated the dispute of only the parties before it."). Several courts,

 including district courts in the Seventh Circuit, have issued that type of broad

 preliminary injunctive relief without certifying a class under Rule 23. See

 Newberg on Class Actions § 4:30 (collecting cases) ("[A] court may issue a

 classwide preliminary injunction in a putative class action suit prior to a ruling

 on the class certification motion . . . ."); O.B. v. Norwood, 170 F.Supp.3d 1186,

 1200 (N.D. Ill. Mar. 21, 2016) (district court did not issue a class ruling but

 "use[d] its general equity powers to order preliminary injunctive relief for the

 proposed class of plaintiffs"); Lee v. Orr, No. 13-cv-8719, 2013 WL 6490577 at

 *2 (N.D. Ill. Dec. 10, 2013).

       To be clear, none of this addresses the merits of Plaintiffs' motion for a

 preliminary injunction. Whether Plaintiffs are entitled to any preliminary

 injunctive relief remains to be determined. Similarly, this order does not

 address the appropriate scope of preliminary injunctive relief, should the Court

 find any relief warranted. Those issues are the subject of the parties' ongoing

 briefing. Dkt. 22; dkt. 25. This order addresses only the proper procedure that

 may be used to implement any preliminary injunctive relief that the Court may




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 award upon full consideration of the parties' briefs, evidentiary materials, and

 the parties' presentations at the June 14, 2023, hearing. See dkt. 38.

       For these reasons, Plaintiffs SHALL SHOW CAUSE by May 12, 2023,

 why briefing on their motion for class certification should not be stayed

 because the Court's equitable power would provide the more appropriate

 procedure for the relief they seek.

 SO ORDERED.

 Date: 5/5/2023




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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 21, 2023, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of Appeals for the

Seventh Circuit using the CM/ECF system. I certify that all participants in the case

are registered CM/ECF users and that service will be accomplished by the CM/ECF

system.

                                                   /s/ Thomas M. Fisher

                                                   THOMAS M. FISHER
                                                   Solicitor General



Office of the Indiana Attorney General
Indiana Government Center South, Fifth Floor
302 W. Washington Street
Indianapolis, IN 46204-2770
Telephone: (317) 232-6255
Facsimile: (317) 232-7979
Tom.Fisher@atg.in.gov
